 USCA11 Case: 24-10277   Document: 38    Date Filed: 07/15/2024   Page: 1 of 90

                             No. 24-10277

         IN THE UNITED STATES COURT OF APPEALS
                FOR THE ELEVENTH CIRCUIT


              INSURANCE MARKETING COALITION LIMITED,
                                         Petitioner,

                                    v.

                FEDERAL COMMUNICATIONS COMMISSION
                   and UNITED STATES OF AMERICA,
                                         Respondents.


                 On Petition for Review of an Order of
               the Federal Communications Commission


                      BRIEF FOR RESPONDENTS


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 USCA11 Case: 24-10277   Document: 38    Date Filed: 07/15/2024   Page: 2 of 90




             CERTIFICATE OF INTERESTED PERSONS

     As far as we are aware, the Certificate Of Interested Persons in

Petitioner’s Brief is complete.


                                  /s/ Matthew J. Dunne
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                                  Counsel for Respondent
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                                   (i)
 USCA11 Case: 24-10277   Document: 38     Date Filed: 07/15/2024   Page: 3 of 90



          STATEMENT REGARDING ORAL ARGUMENT

     Oral argument is appropriate in this case given the complexity of

the record and the legal issues presented, as well as its importance to

consumers.




                                   (ii)
 USCA11 Case: 24-10277               Document: 38           Date Filed: 07/15/2024         Page: 4 of 90



                                   TABLE OF CONTENTS


                                                                                                     Page

CERTIFICATE OF INTERESTED PERSONS.............................................. i
STATEMENT REGARDING ORAL ARGUMENT ....................................... ii
TABLE OF CONTENTS ............................................................................... iii
TABLE OF AUTHORITIES .......................................................................... v
INTRODUCTION........................................................................................... 1
JURISDICTIONAL STATEMENT................................................................ 3
STATEMENT OF THE ISSUES ................................................................... 4
STATEMENT OF THE CASE ....................................................................... 5
        A.      Telephone Consumer Protection Act ....................................... 5
        B.      The FCC’s 2012 Order ............................................................. 6
        C.      The Lead Generator Loophole and Notice of Proposed
                Rulemaking .............................................................................. 7
                1.       The lead generation industry ......................................... 7
                2.       Notice of Proposed Rulemaking ..................................... 9
        D.      The Order ............................................................................... 10
STANDARD OF REVIEW ........................................................................... 15
SUMMARY OF THE ARGUMENT ............................................................. 16
ARGUMENT ................................................................................................ 19
I.      THE REVISED ROBOCALL CONSENT RULE COMPORTS WITH THE
        STATUTE............................................................................................ 21
        A.      The FCC lawfully established different requirements
                for demonstrating consent to receive commercial and
                non-commercial robocalls....................................................... 21
        B.      The Commission’s revised rule comports with the
                ordinary meaning of consent. ................................................ 26
II.     THE CONSENT RULE DOES NOT VIOLATE THE FIRST
        AMENDMENT. .................................................................................... 30
        A.      The consent rule easily survives intermediate scrutiny. ..... 30

                                                    (iii)
 USCA11 Case: 24-10277               Document: 38          Date Filed: 07/15/2024           Page: 5 of 90



                                   TABLE OF CONTENTS
                                       (continued)
                                                                                                      Page

                1.       The rule promotes a substantial interest. ................... 31
                2.       The rule is proportionate to the government’s
                         interest. ......................................................................... 34
        B.      The rule is not subject to strict scrutiny. .............................. 37
III.    THE CONSENT RULE IS REASONABLE AND SUPPORTED BY THE
        RECORD. ............................................................................................ 39
        A.      The FCC reasonably found lead generation websites
                are a problem, and the new rule is a solution. ..................... 40
        B.      The FCC considered and reasonably rejected IMC’s
                comments and alternative proposal. ..................................... 45
        C.      The FCC adequately considered the impact of the rule
                on small businesses. ............................................................... 47
CONCLUSION ............................................................................................. 52
CERTIFICATE OF COMPLIANCE ............................................................ 53




                                                    (iv)
      USCA11 Case: 24-10277               Document: 38          Date Filed: 07/15/2024            Page: 6 of 90



                                     TABLE OF AUTHORITIES *

    Cases

    Baisden v. Credit Adjustments, Inc., 813 F.3d 338 (6th Cir. 2016) ........ 27

    Baltimore Gas and Elec. Co. v. United States, 817 F.2d 108 (D.C.
      Cir.1987) ............................................................................................... 45

    Barr v. Am. Ass’n of Pol. Consultants, Inc., 140 S. Ct. 2335 (2020) .. 1, 32,
      37, 39

    Bd. of Trs. of State Univ. of N.Y. v. Fox, 492 U.S. 469 (1989) .......... 34, 36

    Blow v. Bijora, Inc., 855 F.3d 793 (7th Cir. 2017)................................... 27

*   Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n, 447 U.S.
      557 (1980) ............................................................................................. 31

    City of Austin, Texas v. Reagan Nat’l Advert. of Austin, LLC, 596
       U.S. 61 (2022) ....................................................................................... 38

    City of N. Miami v. Fed. Aviation Admin., 47 F.4th 1257 (11th Cir.
       2022) ..................................................................................................... 48

    Cordoba v. DIRECTV, LLC, 942 F.3d 1259 (11th Cir. 2019) ................... 5

    Dana’s R.R. Supply v. Att’y Gen., Fla., 807 F.3d 1235 (11th Cir.
      2015) ............................................................................................... 31, 38

    FCC v. Prometheus Radio Project, 592 U.S. 414 (2021) ......................... 50

    FF Cosmetics FL, Inc. v. City of Miami Beach, 866 F.3d 1290 (11th
      Cir. 2017) ............................................................................ 31, 34, 35, 38

    Fla. Bar v. Went For It, Inc., 515 U.S. 618 (1995) ................................... 33

    Fober v. Mgmt. & Tech. Consultants, LLC, 886 F.3d 789 (9th Cir.
      2018) ......................................................................................... 17, 19, 29


    * Authorities upon which we chiefly rely are marked with asterisks.


                                                          (v)
     USCA11 Case: 24-10277                Document: 38          Date Filed: 07/15/2024           Page: 7 of 90



                                     TABLE OF AUTHORITIES
                                          (continued)
                                                                                                       Page(s)

    Georgia Dep’t of Educ. v. U.S. Dep’t of Educ., 883 F.3d 1311 (11th
      Cir. 2018) .............................................................................................. 42

    Gorss Motels, Inc. v. Safemark Sys., LP, 931 F.3d 1094 (11th Cir.
      2019) ............................................................................................... 17, 29

    Graham v. R.J. Reynolds Tobacco Co., 857 F.3d 1169 (11th Cir.
      2017) ..................................................................................................... 16

    Hussion v. Madigan, 950 F.2d 1546 (11th Cir. 1992) ....................... 45, 47

    Loper Bright Enters. v. Raimondo, 603 U.S. __, 144 S. Ct. 2244
      (2024) .................................................................................................... 15

    Mantha v. QuoteWizard.com, LLC, No. 19-12235-LTS, 2022 WL
      325722 (D. Mass. Feb. 3, 2022) ........................................................... 12

    Miccosukee Tribe of Indians of Fla. v. United States, 566 F.3d 1257
      (11th Cir. 2009) .................................................................................... 16

    Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368 (2012) .............................. 5

    Mobil Oil Expl. & Producing Se. Inc. v. United Distrib. Cos., 498
      U.S. 211 (1991) ..................................................................................... 44

    Nat’l Min. Ass’n v. Sec’y, U.S. Dep’t of Lab., 812 F.3d 843 (11th
      Cir. 2016) .............................................................................................. 50

    Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014) ...... 26

    Recht v. Morrisey, 32 F.4th 398 (4th Cir. 2022) ...................................... 38

    Reed v. Town of Gilbert, Az., 576 U.S. 155 (2015)............................. 37, 38

    Rural Cellular Ass’n v. FCC, 588 F.3d 1095 (D.C. Cir. 2009) ................ 48

*   Schweitzer v. Comenity Bank, 866 F.3d 1273 (11th Cir. 2017) ... 17, 22, 26

    Skidmore v. Swift & Co., 323 U.S. 134 (1944) ........................................ 15

                                                         (vi)
     USCA11 Case: 24-10277              Document: 38           Date Filed: 07/15/2024        Page: 8 of 90



                                    TABLE OF AUTHORITIES
                                         (continued)
                                                                                                   Page(s)

    State of Fla. v. Dep’t of Health & Hum. Servs., 19 F.4th 1271 (11th
      Cir. 2021) ........................................................................................ 16, 39

    Victory Processing, LLC v. Fox, 937 F.3d 1218 (9th Cir. 2019) .............. 32

    Williams-Yulee v. Fla. Bar, 575 U.S. 433 (2015)..................................... 36

    Statutes

    28 U.S.C. § 2342(1) ..................................................................................... 3

*   47 U.S.C. § 227(b)(1)(A) .......................................................... 1, 4, 5, 16, 19

*   47 U.S.C. § 227(b)(1)(B) .......................................................... 1, 4, 5, 16, 19

*   47 U.S.C. § 227(b)(2) ............................................................. 1, 5, 16, 19, 22

    47 U.S.C. § 402(a) ....................................................................................... 3

*   Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243,
       105 Stat. 2394 (codified at 47 U.S.C. § 227) ....... 1, 5, 17, 22, 23, 36, 47

    Regulations

    47 C.F.R. § 64.1200(a)(1) .......................................................................... 22

    47 C.F.R. § 64.1200(a)(2) ............................................................ 2, 3, 22, 31

    47 C.F.R. § 64.1200(a)(3) ............................................................ 2, 3, 22, 31

    47 C.F.R. § 64.1200(f)(1) ........................................................................... 31

    47 C.F.R. § 64.1200(f)(9) ........................................................... 2, 12, 21, 22

    47 C.F.R. § 64.1200(f)(13) ..................................................................... 6, 31




                                                       (vii)
 USCA11 Case: 24-10277            Document: 38          Date Filed: 07/15/2024      Page: 9 of 90



                              TABLE OF AUTHORITIES
                                   (continued)
                                                                                         Page(s)

Administrative Materials

Rules and Regulations Implementing the Telephone Consumer
  Protection Act of 1991, 27 FCC Rcd 1830 (2012) .................. 6, 7, 24, 25

Legislative Materials

H.R. Rep. No. 102–317 (1991) .................................................................. 23

Treatise

Dobbs, The Law of Torts .......................................................................... 27




                                               (viii)
USCA11 Case: 24-10277      Document: 38    Date Filed: 07/15/2024   Page: 10 of 90



                             INTRODUCTION

      “Americans passionately disagree about many things. But they are

largely united in their disdain for robocalls”—that is, text messages and

telephone calls that are artificially voiced, prerecorded, or placed using

automatic dialing technology. Barr v. Am. Ass’n of Pol. Consultants, Inc.,

140 S. Ct. 2335, 2343 (2020). In the order on review, the Federal

Communications         Commission   (“FCC”      or   “Commission”)       adopted

important measures to combat the proliferation of robocalls. See

Targeting and Eliminating Unlawful Text Messages, Implementation of

the Telephone Consumer Protection Act of 1991, Advanced Methods to

Target and Eliminate Unlawful Robocalls, FCC 23-107 (Dec. 18, 2023)

(A1) (“Order”).

      The Telephone Consumer Protection Act of 1991 (“TCPA” or “Act”),

Pub. L. No. 102-243, 105 Stat. 2394 (codified at 47 U.S.C. § 227), prohibits

robocalls placed to most lines without the “prior express consent of the

called party.” 47 U.S.C. § 227(b)(1)(A)(iii), (B). To effectuate that

prohibition, the statute empowers the FCC to adopt implementing rules.

See id. § 227(b)(2).

      Since 2012, the Commission has required that “express consent” for

most categories of telemarketing robocalls be made in writing. See 47


                                     -1-
USCA11 Case: 24-10277        Document: 38    Date Filed: 07/15/2024   Page: 11 of 90



C.F.R. § 64.1200(a)(2) & (3). But in recent years, that rule has failed to

protect consumers from a flood of “unwanted texts and calls when [they]

visit comparison shopping websites” run by entities known as “lead

generators.” Order ¶ 2 (A3). A consumer visiting such a website might

click a single box and, without realizing it, be deemed to have “consented”

to receiving robocalls from hundreds or thousands of the lead generator’s

“marketing partners.” Id. ¶ 32 (A14). In many cases, those callers are

businesses with no logical or topical connection to the website on which

the consumer supposedly furnished consent. Id.

      Petitioner Insurance Marketing Coalition (“IMC”) represents lead

generators and their clients in the insurance industry. IMC Br. 7–8.

IMC’s members find it cost effective to use a single checkbox to collect

consumers’ “consent” to be contacted by any one of “many potential

businesses” that might purchase a lead obtained through a “comparison

shopping” website. Id. 7. In defense of that business model, IMC insists

that consumers “want, and have expressly asked, to receive” robocalls

initiated this way. Id. 1.

      The record shows otherwise, and the FCC reasonably disagreed.

The Commission accordingly updated Section 64.1200(f)(9) of the

agency’s rules, 47 C.F.R. § 64.1200(f)(9), to close what it called the “lead


                                       -2-
USCA11 Case: 24-10277   Document: 38     Date Filed: 07/15/2024   Page: 12 of 90



generator loophole” to the existing requirement of “express written

consent” for telemarketing robocalls, 47 C.F.R. § 64.1200(a)(2) & (3); see

Order ¶ 30 (A12). Once the revised rule takes effect in January 2025,

robocalls that require express written consent will no longer be allowed

unless a called party gives advertiser-specific “one-to-one consent,” id.

¶ 31 (A13), and the telemarketing in question is “logically and topically

related” to the website where consent is obtained, id. ¶ 36 (A17).

                  JURISDICTIONAL STATEMENT

     This Court has jurisdiction pursuant to 28 U.S.C. § 2342(1) and 47

U.S.C. § 402(a). Notice of the Order was published in the Federal Register

on January 26, 2024. Targeting and Eliminating Unlawful Text

Messages, Implementation of the Telephone Consumer Protection Act of

1991, Advanced Methods to Target and Eliminate Unlawful Robocalls, 89

Fed. Reg. 5098, 5098 (Jan. 26, 2024). IMC timely filed its petition for

review the same day.




                                   -3-
USCA11 Case: 24-10277   Document: 38      Date Filed: 07/15/2024   Page: 13 of 90



                   STATEMENT OF THE ISSUES

     In implementing the TCPA’s requirement for “express consent” for

robocalls, 47 U.S.C. § 227(b)(1)(A) & (B), the FCC required that consent

for telemarketing robocalls be given separately for each caller, and that

those calls be logically and topically associated with the website where

the consumer gave consent.

     1. Does the Order comport with the TCPA?

     2. Does the Order advance an important government purpose,

with a reasonably tailored fit, as required by the First Amendment for

regulations of commercial speech?

     3.   Is the Order reasonable and supported by the record, as

required by the Administrative Procedure Act (“APA”)?




                                    -4-
USCA11 Case: 24-10277    Document: 38     Date Filed: 07/15/2024   Page: 14 of 90



                      STATEMENT OF THE CASE

     A.    Telephone Consumer Protection Act

     Congress enacted the TCPA in 1991 in response to public “outrage[]

over the proliferation of intrusive, nuisance [telemarketing] calls,” which

consumers “rightly regarded…as ‘an invasion of privacy.’” Mims v. Arrow

Fin. Servs., LLC, 565 U.S. 368, 372 (2012) (quoting the TCPA § 2, 105

Stat. at 2394 (second alteration in original)); see Cordoba v. DIRECTV,

LLC, 942 F.3d 1259, 1264–65 (11th Cir. 2019). Among other restrictions,

the TCPA generally forbids calls made “using any automatic telephone

dialing system or an artificial or prerecorded voice” to a cell phone

without the “prior express consent of the called party.” 47 U.S.C.

§ 227(b)(1)(A)(iii). The same consent requirement applies for calls to

residential lines made “using an artificial or prerecorded voice.” Id.

§ 227(b)(1)(B). The FCC generally refers to these communications as

“robocalls” (or as “robotexts,” when referring to messages delivered by

text). See Order ¶ 8 & n.14 (A4).

     The TCPA does not define the “express consent” required for these

calls. Instead, as to this and other aspects of the statute, Congress

directed the Commission to prescribe implementing regulations. 47

U.S.C. § 227(b)(2).


                                    -5-
USCA11 Case: 24-10277    Document: 38    Date Filed: 07/15/2024   Page: 15 of 90



     B.    The FCC’s 2012 Order

     In an order implementing the TCPA in 2012, the FCC interpreted

“express consent” under the statute to require express written consent for

telemarketing robocalls. Rules and Regulations Implementing the

Telephone Consumer Protection Act of 1991, 27 FCC Rcd 1830, 1838 ¶ 20

(2012) (2012 Order). 1 The FCC adopted this requirement to “reduce the

opportunities for telemarketers to place unwanted or unexpected calls to

consumers,” and to “reduce the chance of consumer confusion in

responding orally to a telemarketer’s consent request.” Id. at 1839 ¶ 24.

     By contrast, the Commission determined that it would not require

written consent for informational, non-telemarketing robocalls—e.g.,

messages from non-profit and political organizations, or calls providing

information about credit card fraud or school closings. See id. at 1838

¶ 21. In the agency’s judgment, requiring written consent for such calls

would “unnecessarily impede,” id., access to “information that consumers

find highly desirable,” id. at 1841 ¶ 29. With less reason to doubt the

sufficiency of oral consent to receive such calls, the Commission “[left] it


1 FCC regulations define “telemarketing” to “mean the initiation of a
telephone call or message for the purpose of encouraging the purchase or
rental of, or investment in, property, goods, or services.” 47 C.F.R.
§ 64.1200(f)(13).


                                   -6-
USCA11 Case: 24-10277     Document: 38    Date Filed: 07/15/2024   Page: 16 of 90



to the caller to determine, when making an autodialed or prerecorded

non-telemarketing call to a wireless number, whether to rely on oral or

written consent in complying with the statutory consent requirement.”

Id. at 1842 ¶ 29.

     C.    The Lead Generator Loophole and Notice of Proposed
           Rulemaking

     In recent years, the Commission began to explore the proper

application of the TCPA and the agency’s implementing rules to the “lead

generation” industry.

           1.       The lead generation industry

     “Lead generation is the process of identifying and cultivating

individual consumers who are potentially interested in purchasing a

product or service,” primarily based on the consumer’s voluntary

submission of information online. Federal Trade Commission, “Follow

The Lead” Workshop: Staff Perspective at 2 (Sept. 2016) (“FTC

Workshop”) (SA186); see Order n.69 (A12) (citing FTC Workshop).

     Typically, “consumers’ first interaction with online lead generators

starts with a website” that encourages “consumers to submit additional

information about themselves to learn more and connect with merchants

or advertisers (like retailers or lenders).” FTC Workshop at 2 (SA186).



                                    -7-
USCA11 Case: 24-10277   Document: 38     Date Filed: 07/15/2024   Page: 17 of 90



The website operator will then attempt to sell this “lead,” either to end-

buyer merchants or, frequently, to intermediaries known as “lead

aggregators.” Id. at 3 (SA187). Aggregators then may sell a batch of leads

to an end-buyer merchant or, alternatively, to yet another aggregator,

which will further process them and sell them to another buyer. Id.

     Industry representatives contend there are benefits to this

arrangement, which they say connects buyers and sellers quickly and

efficiently, lowers prices, and promotes competition. Id. at 4–5 (SA188–

89). The Federal Trade Commission, however, has described several

potential drawbacks from this “often very complex and opaque” system.

Id. at 5 (SA189). For example, consumers who fill out web forms may not

realize that (1) “they are operated by lead generators” (consumers may

“instead assume that they are submitting information directly to a

merchant or other advertiser”); (2) consumers’ “information can be sold

and re-sold multiple times” (“and further that, as a result, [consumers]

may be contacted by numerous marketers…unfamiliar to them”); or

(3) consumers’ information may go “to the companies willing to pay for it

(or pay the most for it), as opposed to those best suited to offering

[consumers] the products or services they seek.” Id.




                                   -8-
USCA11 Case: 24-10277   Document: 38    Date Filed: 07/15/2024   Page: 18 of 90



           2.   Notice of Proposed Rulemaking

     In recent years, despite the FCC’s previous efforts, intrusive,

unwanted, and often illegal robocalls continued to proliferate. See Order

¶¶ 5–7, 30 & n.68, 31 & n.72 (A3–A4, A12, & A13). Between 2015 and

2020, for example, “the number of spam text messages that wireless

providers blocked grew ten times,” to an estimated 14 billion per year.

Targeting and Eliminating Unlawful Text Messages, Rules and

Regulations Implementing the Telephone Consumer Protection Act of

1991, FCC 23-21 ¶ 6 (Mar. 17, 2023) (SA6) (NPRM).

     Accordingly, in March 2023, the FCC sought comment on several

proposals to cut down on illegal and intrusive robocalls. Id. ¶¶ 48–65

(SA22–27). Among these proposals, the Commission sought comment on

closing the “lead generator loophole.” See id. ¶¶ 58–62 (SA25–26).

     As an example of the problem it sought to address, the FCC cited

its recent experience regarding a lead generation company called

Assurance IQ, whose website “purport[ed] to enable consumers to

comparison shop for insurance,” but which—on a separate, hyperlinked

webpage—sought consent for calls and texts from “partner companies”

that included entities that seemingly did not offer insurance at all. Id.

¶ 59 (SA25). The Commission also cited another insurance-related


                                  -9-
USCA11 Case: 24-10277     Document: 38   Date Filed: 07/15/2024   Page: 19 of 90



website that listed 8,423 entities on a hyperlinked page. See id. ¶ 60

(SA26). Such examples gave rise to the concern, the Commission

explained, that a telemarketer purchasing a lead might “believe that it

has the consumer’s prior express consent” where there was in fact no

consent “to the particular caller or callers.” Id.

      In light of these concerns, the Commission sought comment on a

proposal to require “that prior express consent to receive calls or

texts…be made directly to one entity at a time.” Id. ¶ 61 (SA26). It also

proposed to require “that such consent be considered granted only to

callers logically and topically associated with the website that solicits

consent and whose names are clearly disclosed on the same web page.”

Id.

      D.    The Order

      In the Order on review, the Commission implemented both

proposals. See Order ¶ 30 (A12).

      As the Order makes clear, a wide range of commenters—including

consumer groups, members of Congress, state attorneys general, telecom

industry groups, and individual consumers—favored closing the lead

generator loophole. Id.; see id. n.72 (A13) (citing Joint Consumers

Comments (SA50), USTelecom Comments (SA90); AG Reply Comments


                                    - 10 -
USCA11 Case: 24-10277   Document: 38   Date Filed: 07/15/2024   Page: 20 of 90



(SA121); and Letter from U.S. Senators Ben Ray Luján et al. (Aug. 7,

2023) (Aug. 7 Congressional) (SA179)). Examining the record, the

Commission agreed that the “resale of consumer data by lead generators

and lead aggregators” has “significantly” contributed to the problem of

unwanted robocalls. Id. ¶ 31 (A13).

     The FCC also took note of other cases where lead generation

websites had contributed to unwanted calls. As one example, it pointed

to “abuses” uncovered in a recent enforcement action against the

company Urth Access, id. ¶ 32 (A14), in which the Commission rejected

the adequacy of disclosures through which consumers were supposed to

have “consented” to receiving “millions of student-loan-related robocalls”

on websites that had no “connection with student loan assistance.” Urth

Access LLC, 37 FCC Rcd 14133, 14136, 14139 ¶¶ 8, 15 (Enf. Bur. 2022)

(SA 198) (Urth Access Order). The consent disclosures in question

included a hyperlink to a separate webpage listing 5,329 entities as

“marketing partners.” Order ¶ 32 (A14) (citing Urth Access Order, 37

FCC Rcd at 14139 ¶ 16 (SA205). In another example, a telemarketer had

relied on consent that had been resold several times, and which the

plaintiff denied ever having given. Id. n.70 (A13) (referencing Mantha v.

QuoteWizard.com, LLC, No. 19-12235-LTS, 2022 WL 325722 (D. Mass.


                                  - 11 -
USCA11 Case: 24-10277    Document: 38   Date Filed: 07/15/2024   Page: 21 of 90



Feb. 3, 2022)). With the benefit of this record, the Commission concluded

that lead-generated communications “often rely on flimsy claims of

consent to bombard consumers with unwanted robocalls and robotexts.”

Id. ¶ 30 (A12); see id. n.70 (A12–A13) (collecting examples of abuses).

     In the agency’s judgment, “new protections [were] necessary to stop

abuse of [its] established consent requirements.” Id. ¶ 30 (A12). The

Commission therefore amended the definition of “prior express written

consent” set forth in Section 64.1200(f)(9) of its rules to mean a written

agreement “that clearly and conspicuously authorizes no more than one

identified seller” authorized to send (or cause to be sent) a telemarketing

robocall. Id. at App. B (A51) (amending 47 C.F.R. § 64.1200(f)(9)). The

Commission further specified, in its revised rule, that “[c]alls and texts

must be logically and topically associated with the interaction that

prompted the consent.” Id.

     By “[u]nequivocally requiring one-to-one consent” for telemarketing

robocalls, id. ¶ 31 (A13–A14), the Commission sought to “stop[] the

practice of buried, barely visible disclosures that…appear in fine print on

a website or [are] only accessible through a hyperlink,” and thereby to

ensure that, going forward, “consumers consent only to sellers they wish

to hear from,” id. ¶ 32 (A14) (citing “the abuses we saw…in Urth Access”).


                                  - 12 -
USCA11 Case: 24-10277    Document: 38    Date Filed: 07/15/2024   Page: 22 of 90



As the Commission explained, the one-to-one consent requirement also

makes “clear that sharing lead information with a daisy-chain of

‘partners’ is not permitted.” Id.

     In requiring that the content of robocalls “be logically and topically

associated with the website where [a] consumer [gives] consent,” id. ¶ 30

(A13), the Commission explained that “consumers deserve protection

against calls that go beyond the scope of consent, a scope that can be

reasonably inferred from the purpose of the website at which they gave

that consent,” id. ¶ 36 (A17). In adopting this requirement, the

Commission specifically considered and rejected IMC’s contention that a

consumer’s consent on a car loan comparison website should be

understood to extend beyond car loans, to robocalls about loan

consolidation. Id.

     The Commission further considered, but rejected, other industry

proposals, including IMC’s proposal that the agency require only that

lead generation websites more explicitly disclose their practices, and

proposals from other industry members that websites be permitted to

obtain a single consent for a short list of callers (such as 10). Id. ¶¶ 33,

34 & n.85 (A15–A16). In the Commission’s judgment, these proposals

were not sufficiently protective of consumers’ interest in controlling


                                    - 13 -
USCA11 Case: 24-10277   Document: 38   Date Filed: 07/15/2024   Page: 23 of 90



“which parties they consent to receive robocalls or robotexts from.” Id.

¶ 34 (A16).

     The Commission additionally considered arguments that its revised

definition of consent would hurt consumers and small businesses. Id.

¶¶ 37–45 (A17–A20). Without disputing that comparison shopping

websites and lead generators may sometimes benefit consumers or

businesses, the Commission recognized a need to “balance[]” such

benefits against the public interest in protecting “consumers, including

small businesses, from a deluge of unwanted robocalls and robotexts.” Id.

¶ 37 (A17). The Commission stated that no party had provided specific

evidence that the revised rule would prevent consumers from comparison

shopping. See id. ¶¶ 38–41 (A17–A18). The agency also explained that

many avenues will remain available to lead generators and marketers,

even under the revised rule: websites may ask for consent after a “match”

is made between customer and seller, id. ¶ 33 (A15); websites may offer

a list of possible sellers and allow consumers to choose each seller they

wish to hear from, id. ¶ 41 (A18); or sellers may purchase leads obtained

without one-to-one consent and then communicate with consumers by

means other than robocalls, id. ¶ 39 (A18).




                                 - 14 -
USCA11 Case: 24-10277     Document: 38   Date Filed: 07/15/2024   Page: 24 of 90



      No party, the Commission observed, had offered “specific evidence

on the potential economic impact” of the revised rule for lead generators

or their clients. Id. ¶ 47 (A21); see id. ¶ 42 (A19). By contrast, the agency’s

“analysis suggest[ed] that the harm of unwanted and illegal calls is at

least $13.5 billion annually”—a problem to which, the Commission found,

lead generators and aggregators have contributed “significant[ly].” Id.

¶ 47 (A21).

                        STANDARD OF REVIEW

      IMC argues that the FCC’s implementation of the TCPA through

the revised rule conflicts with the statute. While reviewing “courts must

exercise independent judgment in determining the meaning of statutory

provisions,” the interpretations of “those responsible for implementing

particular statutes…‘constitute a body of experience and informed

judgment to which courts and litigants may properly resort for

guidance.’” Loper Bright Enters. v. Raimondo, 603 U.S. __, 144 S. Ct. 2244

(2024), slip op. at 16 (quoting Skidmore v. Swift & Co., 323 U.S. 134, 140

(1944)).

      Review of IMC’s claim that the Order violates the First Amendment

is de novo. See, e.g., Graham v. R.J. Reynolds Tobacco Co., 857 F.3d 1169,




                                    - 15 -
USCA11 Case: 24-10277    Document: 38   Date Filed: 07/15/2024   Page: 25 of 90



1181 (11th Cir. 2017) (en banc) (de novo review for questions of

constitutional law).

     By contrast, review of IMC’s claim that the Order is arbitrary and

capricious is “exceedingly deferential.” State of Fla. v. Dep’t of Health &

Hum. Servs., 19 F.4th 1271, 1290–91 (11th Cir. 2021) (quoting

Miccosukee Tribe of Indians of Fla. v. United States, 566 F.3d 1257, 1264

(11th Cir. 2009)). A decision is arbitrary and capricious only if the agency

relied on factors that Congress would not have intended, “entirely failed

to consider an important aspect of the problem,” “offered an explanation

counter to the evidence before the agency,” or took “action…so

implausible that it could not be ascribed to a difference in view or the

product of agency expertise.” Id. (internal quotation marks and citations

omitted).

                   SUMMARY OF THE ARGUMENT

     Congress authorized the Commission to prescribe regulations to

implement the TCPA, 47 U.S.C. § 227(b)(2), including the requirement of

“prior express consent” for robocalls, id. § 227(b)(1)(A), (B). Here, the FCC

reasonably exercised that authority, consistent with the statute.

     I.A.    The FCC’s decision to impose differing standards to

demonstrate consent for telemarketing as opposed to non-telemarketing


                                   - 16 -
USCA11 Case: 24-10277     Document: 38   Date Filed: 07/15/2024    Page: 26 of 90



robocalls was reasonable and consistent with the TCPA. Congress

showed a particular concern with telemarketing and gave the FCC the

“flexibility to design different rules” for robocalls that are, and are not, a

nuisance. TCPA § 2(13), 105 stat 2395. The FCC has had different

consent requirements for telemarketing and non-telemarketing calls

since 2012, and the record in this proceeding continued to show a problem

with the former, but not the latter.

      I.B. The Commission’s revised rule is also consistent with the

ordinary meaning of consent: a “willingness for certain conduct to occur.”

Schweitzer v. Comenity Bank, 866 F.3d 1273, 1276 (11th Cir. 2017). The

record showed that consumers should not be presumed willingly to invite

robocalls from hundreds or thousands of entities identified on a

comparison shopping website’s hyperlinked list, often with no logical or

topical connection to the website. See Order ¶ 32 (A14). Lead generation

arrangements of this kind are not reasonably analogous to cases IMC

highlights—Gorss Motels, Inc. v. Safemark Systems, LP, 931 F.3d 1094

(11th Cir. 2019), and Fober v. Mgmt. & Tech. Consultants, LLC, 886 F.3d

789   (9th   Cir.   2018)—in     which       parties   knowingly     authorized

communications from affiliates of the party with which they had a direct

relationship.


                                    - 17 -
USCA11 Case: 24-10277   Document: 38   Date Filed: 07/15/2024   Page: 27 of 90



     II.A. As a regulation of commercial speech, the Commission’s rule

is subject to—and easily survives—intermediate First Amendment

scrutiny. The government has a substantial interest in protecting

consumers from intrusive and unwanted calls, and the record shows that

the new consent rule would further that interest. In addition, the rule is

appropriately—indeed, narrowly—tailored: consumers can still use

comparison websites, and lead generators and sellers still have many

avenues through which to pursue their telemarketing activities.

     II.B. IMC argues that because the rule targets only commercial

speech, the rule is “content-based” and so is subject to strict scrutiny.

That argument runs counter to decades of established law on commercial

speech regulation. The cases on which IMC relies do not support that

result, and the Supreme Court and this Court have recently reaffirmed

the continuing viability of the commercial speech doctrine.

     III. The consent rule is reasonable and supported by the record.

Abundant evidence from a wide variety of commenters showed that lead-

generated robocalls are a significant problem. The record likewise

supported the agency’s conclusion the new consent rule would help solve

that problem. The agency fully considered and reasonably rejected more

limited proposals from IMC and other lead generators. It likewise


                                  - 18 -
USCA11 Case: 24-10277   Document: 38   Date Filed: 07/15/2024   Page: 28 of 90



reasonably found that any impact of the rule on small businesses was

outweighed by the significant interest in protecting consumers from

unwanted telemarketing robocalls, as Congress had intended.

     The petition for review should be denied.

                              ARGUMENT

     Congress empowered the Commission to prescribe regulations to

implement the TCPA, 47 U.S.C. § 227(b)(2), including the statute’s

requirement of “prior express consent” for robocalls to most phone lines,

id. § 227(b)(1)(A), (B). In the Order, the FCC exercised that authority to

address a substantial threat to consumer privacy from the lead

generation industry. An extensive record showed that “[l]ead-generated

communications are a large percentage of unwanted calls and texts and

often rely on flimsy claims of consent to bombard consumers with

unwanted robocalls and robotexts.” Order ¶ 30 (A12); see above pp. 10–

13; below Part III.A. Taking account of this “transactional context,”

Fober, 886 F.3d at 793, the Commission reasonably concluded that

requiring one-to-one consent would “stop[] the practice of buried, barely

visible disclosures” and instead “ensure[] that consumers consent only to

sellers they wish to hear from,” Order ¶ 32 (A14). Although the

Commission considered other, more limited proposals that IMC and other


                                  - 19 -
USCA11 Case: 24-10277     Document: 38   Date Filed: 07/15/2024    Page: 29 of 90



industry commenters might have preferred, see above pp. 13–14, below

Part III.B, it concluded that a requirement of one-to-one consent would

better ensure that consumers only receive robocalls they give informed

consent to receive, see Order ¶ 34 (A15). That determination was an

eminently reasonable exercise of the Commission’s congressionally

conferred discretion.

     It was likewise well within the Commission’s discretion to mandate

a “logical[] and topical[]” connection between the commercial interaction

giving rise to consent and any resulting telemarketing robocalls. Id. ¶ 36

(A17). The Commission’s recent experience in the Urth Access

enforcement proceeding, for example, supported this decision. There, a

telemarketing group had made “millions” of unwanted calls regarding

student loans and claimed to have obtained consent for those calls

through a lead generator’s websites that had no apparent connection to

student loan assistance. Urth Access Order ¶¶ 8 & 15 (SA202, SA205).

Similarly, USTelecom—as leader of the “Industry Traceback Group” that

traces robocalls—complained to the Commission about “claims of consent

where a consumer interested in job listings, a potential reward, or a

mortgage    quote,      unknowingly      and   unwillingly        ‘consents’   to

telemarketing calls from dozens—or hundreds or thousands—of


                                   - 20 -
USCA11 Case: 24-10277   Document: 38     Date Filed: 07/15/2024   Page: 30 of 90



unaffiliated entities about anything and everything.” USTelecom

Comments at 1 & n.1, 2 (SA91, SA92). On this record, the Commission

reasonably took steps to protect consumers from unwittingly inviting

sales communications they might not reasonably expect. Order ¶ 36

(A17).

     In the face of this reasonable and well-supported action, IMC’s

various objections to the Order are unpersuasive.

I.   THE REVISED ROBOCALL CONSENT RULE COMPORTS WITH THE
     STATUTE.

     IMC contends that the FCC’s revisions to Section 64.1200(f)(9) of

the agency’s rules, 47 C.F.R. § 64.1200(f)(9), exceed the Commission’s

authority under the TCPA. See IMC Br. 22–30. Neither of IMC’s two

statutory theories is persuasive.

     A.    The FCC lawfully established different requirements
           for demonstrating consent to receive commercial and
           non-commercial robocalls.

     IMC argues, first, that the Commission unlawfully “assign[ed]

different meanings to the same statutory term”—“prior express

consent”—for telemarketing and non-telemarketing robocalls. IMC Br.

22; see id. 22–26. But there is no inconsistency. For telemarketing and




                                    - 21 -
USCA11 Case: 24-10277     Document: 38   Date Filed: 07/15/2024   Page: 31 of 90



non-telemarketing messages alike, express consent means an expression

of “willingness for certain conduct to occur.” Schweitzer, 866 F.3d at 1276.

     Because different circumstances surround telemarketing and non-

telemarketing calls, however, the FCC has long required different

evidence of willingness in each context. Consent for telemarketing

robocalls must be demonstrated through “express written consent” as

defined in Section 64.1200(f)(9)—which, when the Order takes effect, will

include   the      one-to-one-consent    and     logical-and-topical-relation

requirements. See 47 C.F.R. § 64.1200(a)(2) & (3), (f)(9). By contrast,

consent for other calls may be proved in writing or orally. See id.

§ 64.1200(a)(1).

     The Commission’s separate requirements for telemarketing and

non-telemarketing robocalls are consistent with the text and design of

the TCPA. In directing the FCC to implement the requirements of the

TCPA, 47 U.S.C. § 227(b)(2), Congress recognized that the FCC “should

have the flexibility to design different rules for those types of automated

or prerecorded calls that…are not considered a nuisance or invasion of

privacy, or for noncommercial calls.” TCPA §§ 2(13), 105 Stat 2394, 2395;

see also 47 U.S.C. § 227(b)(2)(B) (directing the FCC to consider exempting

certain non-commercial calls and commercial calls that do not include


                                   - 22 -
USCA11 Case: 24-10277   Document: 38   Date Filed: 07/15/2024   Page: 32 of 90



advertisements). As explained by the Committee on Energy and

Commerce in the House report recommending adoption of the TCPA, “the

record suggest[ed] that most unwanted telephone solicitations are

commercial in nature,” and that “non-commercial calls…are less

intrusive to consumers because they are more expected.” H.R. Rep. No.

102–317, at 16 (1991). IMC would elide this statutory difference by

taking out of context a congressional finding that, “regardless of the

content or the initiator of the message,” robocalls can be “a nuisance and

an invasion of privacy.” IMC Br. 38, quoting TCPA § 2(10), 105 Stat 2394,

2395. But that finding follows nine others that describe the growing

burden of telemarketing calls specifically, TCPA §§2(1)-(9), and is

followed by the finding quoted above that the FCC should have

“flexibility” to adapt its rules for calls that are noncommercial or not a

nuisance. TCPA §§ 2(13).2 Congress plainly saw a distinction between




2 TCPA § 2(13) (“While the evidence presented to the Congress indicates

that automated or prerecorded calls are a nuisance and an invasion of
privacy, regardless of the type of call, the Federal Communications
Commission should have the flexibility to design different rules for those
types of automated or prerecorded calls that it finds are not considered a
nuisance or invasion of privacy, or for noncommercial calls, consistent
with the free speech protections embodied in the First Amendment of the
Constitution.”).


                                  - 23 -
USCA11 Case: 24-10277    Document: 38   Date Filed: 07/15/2024   Page: 33 of 90



telemarketing and non-telemarketing robocalls and authorized the FCC

to implement the statute accordingly. 3

     The distinction between telemarketing and non-telemarketing

robocalls, moreover, long predates the current Order. It arises from the

2012 Order, in which the Commission provided that telemarketers must

demonstrate “express consent,” as required by Section 227(b)(1)(A) and

(B), through written evidence, whereas either oral or written consent

suffices to demonstrate compliance with the statute for other types of

robocalls. As the agency then explained, obtaining prior written consent

for telemarketing would require “conspicuous action by the consumer”

and so “reduce the chance of consumer confusion in responding orally to

a telemarketer’s consent request.” 2012 Order, 27 FCC Rcd at 1839 ¶ 24;

see id. at 1840 ¶ 25 (consumers who orally consent to service calls “do not

necessarily expect” to get telemarketing calls). By contrast, equivalent

evidence of consent is not needed for non-telemarketing, informational

calls because consumers regard access to such information as “highly



3 IMC complains that the Commission did not properly exercise its
exemption power here (Br. 23-24), but the agency did not grant anyone
an exemption from the statutory consent requirement. As explained, it
simply defined an evidentiary requirement to show consent for certain
types of calls.


                                  - 24 -
USCA11 Case: 24-10277   Document: 38   Date Filed: 07/15/2024   Page: 34 of 90



desirable”; requiring written proof of consent in every instance would

thus “serve as a disincentive to the provision of services on which

consumers…rely.” Id. at 1841 ¶ 29. Thus, the different rules governing

consent that the Commission adopted in 2012 were calibrated to match

consumers’ expectations.

     The Commission’s maintenance of that distinction was likewise

supported by the record here. The Order’s updates to Section

64.1200(f)(9) responded to lead generation techniques that gave rise to

unwanted telemarketing robocalls. See NPRM ¶¶ 58–60 (SA25–26). But

there was no evidence that non-telemarketing, informational calls—for

example, informational robocalls about school closings or credit card

fraud, see 2012 Order, 27 FCC Rcd at 1841 ¶ 29 n.79—were unwanted,

or being made based on mistaken or unreliable claims of consent. There

was thus no reason for the Commission to depart from its determination

in the 2012 Order that compliance with the TCPA for non-telemarketing

robocalls could be established with evidence of oral consent, as opposed

to written consent. 4


4 IMC suggests that the Order did not explain that context requires
different standards of consent for telemarketing and non-telemarketing
calls and so cannot do so now. IMC Br. 25 (citing SEC v. Chenery Corp.,
332 U.S. 194 (1947)). But because the distinction between telemarketing

                                 - 25 -
USCA11 Case: 24-10277    Document: 38   Date Filed: 07/15/2024   Page: 35 of 90



     B.    The Commission’s revised rule comports with the
           ordinary meaning of consent.

     IMC also challenges the FCC’s statutory authority on a theory that

the Commission’s one-to-one-consent and logical-and-topical-relation

requirements conflict with the “ordinary meaning” of the term “consent.”

IMC Br. 26; see id. at 26–30. But the Order’s definition of consent, which

the Commission adopted to align with consumers’ expectations, is fully

consistent with the common understanding of that term. 5

     Both parties agree on the appropriate starting point for construing

“consent”: “the basic premise of consent is that it is given voluntarily.”

Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1253 (11th Cir. 2014),

cited at IMC Br. 26; see Schweitzer, 866 F.3d at 1276 (consent is a

“willingness for certain conduct to occur”).

     But “the scope of consent, like its existence, depends heavily upon

implications and the interpretation of circumstances.” Id. at 1279.



and non-telemarketing calls stems from the 2012 Order, there was no
reason for the Commission to re-explain this longstanding approach in
the Order. See Order n.67 (A12) (observing, in response to IMC’s
argument, that the challenged written consent requirement arises from
the 2012 Order).
5 The validity of the Commission’s challenged rule in no way depends on

the application of Chevron deference, now overruled by Loper Bright, 603
U.S. __.


                                   - 26 -
USCA11 Case: 24-10277    Document: 38   Date Filed: 07/15/2024   Page: 36 of 90



(quoting Dobbs, The Law of Torts § 108, at 328–29). 6 Here, the record

showed that consumers should not be presumed “voluntarily” or

“willingly” to invite robocalls from hundreds or thousands of entities

identified on a lead generator’s hyperlinked list, particularly when the

listed entities have no logical or topical connection to the website. The

Commission cited, for example, an FTC report “observing that consumers

who fill out web forms may not realize they are operated by lead

generators, i.e., not merchants, or may not know that this information

can be sold and re-sold multiple times.” Order n.69 (A12). The agency

likewise highlighted the view of USTelecom—informed by USTelecom’s

experience as the leader of the Industry Traceback Group—that “buried,

barely visible disclosures” that appear on websites “in fine print,” or that

are “only accessible through a hyperlink,” present an obstacle to

consumers’ provision of “fully informed” consent. Id. ¶ 32 (A14).

     This was the same problem, moreover, that led to the “abuses”

addressed in the Urth Access enforcement action. Id. IMC contends (IMC




6 See also Blow v. Bijora, Inc., 855 F.3d 793, 805 (7th Cir. 2017) (scope of

consent under the TCPA is “dependent on the context in which it is given”
(cleaned up)); Baisden v. Credit Adjustments, Inc., 813 F.3d 338, 343 (6th
Cir. 2016) (“context of the consent…is critical”).


                                   - 27 -
USCA11 Case: 24-10277   Document: 38   Date Filed: 07/15/2024   Page: 37 of 90



Br. 27) that check-box acceptance of telemarketing from multiple

companies, including those unrelated to the subject of a consumer’s

initial inquiry, amounts to “[c]onsent that is clearly and unmistakably

stated.” But, with ample support from the record, the Commission

reasonably disagreed—as well might anyone who has interacted with

lengthy pop-up agreements on the web.

     To be sure, there may be particular instances, as IMC contends

(IMC Br. 28), in which it would be reasonable to conclude that a consumer

provides willing, informed agreement to receive robocall marketing from

“multiple named intermediaries” (or even, conceivably, from unnamed

affiliates). But as IMC elsewhere recognizes (IMC Br. 26 n.7), the

Commission was not, in the Order, tasked with evaluating the validity or

scope of a particular consumer’s specific consent on an individual

occasion. The Commission instead crafted a legislative rule designed to

ensure compliance with the TCPA’s “prior express consent” requirement

for telemarketing robocalls generally. And on the available record, the

Commission reasonably concluded that, without the one-to-one-consent

and logical-and-topical-relation requirements, visitors to lead generation

websites would continue to provide “consent” unwittingly, and to receive

unwanted robocalls as a result.


                                  - 28 -
USCA11 Case: 24-10277    Document: 38   Date Filed: 07/15/2024   Page: 38 of 90



     For the same reason, IMC’s reliance on Gorss Motels and Fober to

establish the meaning of consent (IMC Br. 28) is misplaced. In each of

those cases, the specific facts of the consumer transactions at issue were

central. See, e.g., Fober, 886 F.3d at 793 (“the scope of consent must be

determined upon the facts of [the] situation”).

     In Gorss Motels, this Court found that a hotel ownership group

knowingly gave “permission” for fax solicitations from affiliates of their

franchisor when, in the franchise agreement, it provided its fax numbers

and “expressly agreed to receive information about purchasing items

from [the franchisor’s] affiliates.” 931 F.3d at 1101; see id. at 1097, 1100.

The consent of a commercial enterprise to be contacted by affiliates of a

contracting partner is very different from a shopper’s checked box on a

webform.

     In Fober, the Ninth Circuit held that a patient had given informed

consent to receive a robocall assessing the quality of her medical care

when, upon enrolling in her healthcare plan, she expressly authorized

the plan to disclose information in her enrollment form—which included

her phone number—“for purposes…of quality improvement.” 886 F.3d at

793. In that context, the court held, it was irrelevant that the caller had

obtained the consumer’s phone number through an intermediary of the


                                   - 29 -
USCA11 Case: 24-10277      Document: 38        Date Filed: 07/15/2024       Page: 39 of 90



health plan; the call was for the purpose the consumer had knowingly

authorized. Id. In other words, there was little doubt that the customer

had consented to be called for a limited, non-commercial purpose, and the

court found it irrelevant that a different party had actually made the

quality-control call.

       These facts lie far afield from the practices of the lead generation

industry. As the Commission explained based on the record, and as

common sense confirms, “most reasonable consumers would not expect to

receive” telemarketing robocalls from potentially “hundreds…of sellers”

when seeking further information by clicking on a single website link.

Order ¶ 31 (A14). In this context, the FCC’s interpretation of “prior

express consent” falls comfortably within the ordinary meaning of

consent, as well as within the Commission’s statutory authority.

II.    THE CONSENT RULE DOES NOT VIOLATE THE FIRST AMENDMENT.

       A.   The consent rule easily survives intermediate
            scrutiny.

       The revised consent requirement adopted by the Order regulates

only   commercial       speech,   i.e.,     “speech    proposing        a    commercial

transaction.” Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n, 447




                                          - 30 -
USCA11 Case: 24-10277      Document: 38    Date Filed: 07/15/2024   Page: 40 of 90



U.S. 557, 562 (1980). 7 “The law is clear that commercial speech is

afforded   lesser     protections   than     those   traditionally     given    to

noncommercial speech.” FF Cosmetics FL, Inc. v. City of Miami Beach,

866 F.3d 1290, 1298 (11th Cir. 2017). As this Court has explained,

regulations of commercial speech “are given more leeway because of the

robustness of the speech and the greater need for regulatory flexibility in

those areas.” Dana’s R.R. Supply v. Att’y Gen., Fla., 807 F.3d 1235, 1246

(11th Cir. 2015). Such rules are therefore subject to intermediate

scrutiny: they are permissible so long as they advance “a substantial

[government] interest” and the restrictions they impose are “in

proportion to that interest.” Central Hudson, 447 U.S. at 564; see Dana’s

R.R. Supply, 807 F.3d at 1246.

           1.       The rule promotes a substantial interest.

     The revised rule adopted by the Order readily satisfies this

standard. IMC does not (and could not reasonably) dispute that

protecting consumers from unwanted robocalls is a substantial


7 The definition amended by the Order is required only for a robocall “that

includes or introduces an advertisement or constitutes telemarketing,”
defined as a message “advertising the commercial availability or quality
of any property, goods, or services” or “encouraging the purchase or rental
of, or investment in, property, goods, or services.” 47 C.F.R.
§ 64.1200(a)(2) & (3), (f)(1) & (13).


                                    - 31 -
USCA11 Case: 24-10277    Document: 38   Date Filed: 07/15/2024   Page: 41 of 90



government interest. See IMC Br. 34; Barr, 140 S. Ct. at 2348 (upholding

the TCPA’s general restriction on robocalls based on the government’s

interest in “protecting consumer privacy”); Victory Processing, LLC v.

Fox, 937 F.3d 1218, 1227 (9th Cir. 2019).

     The Order directly advances that interest. As we elsewhere explain

(see above pp. 10–13; below Part III.A), the FCC found, based on extensive

comment, that consumers have been besieged by robocalls resulting from

lead generation websites, and that the new one-to-one-consent and

logical-and-topical-relation requirements will “stop[] the practice of

buried, barely visible disclosures” and instead “ensure[] that consumers

consent only to sellers they wish to hear from.” Order ¶ 32 (A14).

     IMC’s suggestion that the Commission “simply posit[ed] the

existence of” “conjectural” harms, IMC Br. 41 (internal quotation marks

omitted), is belied by the record, which included submissions by law

enforcement, legislators, the leader of the Industry Traceback Group,

consumer groups, individual commenters, and even another lead

generation trade group that disagreed with IMC. See Order n.70 (A13);

id. n.72 (A13); id. n.86 (A16); see also id. ¶ 32 (A14) (discussing the Urth

Access enforcement action). It is thus not true that the FCC relied on “a

single citation to a [single] comment letter,” IMC Br. 34, to demonstrate


                                   - 32 -
USCA11 Case: 24-10277    Document: 38   Date Filed: 07/15/2024   Page: 42 of 90



the problem arising from lead generation practices. And the concerns of

28 state attorneys general and of the leader of the Industry Traceback

Group are not “mere conjecture” (IMC Br. 34–35), but rather are rooted

in the experience acquired by those groups in combatting and

investigating the causes of unwanted robocalls. See US Telecom

comments at 2 (SA92) (lead generation calls “create more hurdles for

enforcers and the traceback process as callers obfuscate the legality of

their unwanted robocalls by claiming they have valid consent”). The

Commission reasonably took account of that experience, and the

knowledge the agency obtained in the Urth Access enforcement action,

alongside other evidence in the record.

     Finally, contrary to IMC’s suggestion that a reduction in unwanted

calls “by some unknown amount” is insufficient to sustain the

Commission’s rule (IMC Br. 36), “empirical data” are not required under

the First Amendment; “history, consensus, and simple common sense”

can be sufficient support. Fla. Bar v. Went For It, Inc., 515 U.S. 618, 628

(1995) (cleaned up). Here, the benefits of the rule changes, the

Commission found, will “accrue to millions of individuals and businesses,

including small businesses.” Order ¶ 59 (A25).




                                  - 33 -
USCA11 Case: 24-10277    Document: 38   Date Filed: 07/15/2024   Page: 43 of 90



           2.      The rule is proportionate to the government’s
                   interest.

     Commercial speech regulation need “not necessarily [employ] the

least restrictive means” of promoting a substantial government interest

to survive First Amendment scrutiny. FF Cosmetics, 886 F.3d at 1299

(quoting Bd. of Trs. of State Univ. of N.Y. v. Fox, 492 U.S. 469, 477

(1989)). Instead, the First Amendment is satisfied if the “fit” between the

regulation and the interest it promotes “is not necessarily perfect, but

reasonable.” Id.

     The Commission’s rule as revised in the Order readily satisfies that

standard. It directly addresses the “lead generator loophole” by aligning

the showing of consent required for telemarketing robocalls with

consumer expectations, while still allowing consumers to specifically

consent to receive those telemarketing robocalls they actually want to

receive. Order ¶ 38 (A17). The Commission likewise has not banned or

unduly restricted comparison shopping websites; the revised rule simply

prevents them from requiring consumers to “agree to receive robocalls or

robotexts from multiple, potentially hundreds, of other callers” as a

precondition “to access[ing] [comparison shopping] services.” Id. ¶ 32

(A14). The Order does not even prevent sellers from contacting



                                  - 34 -
USCA11 Case: 24-10277   Document: 38   Date Filed: 07/15/2024   Page: 44 of 90



consumers who have given a generalized consent to a long list of

“marketing partners”; the sellers simply cannot employ robocalling (or

robotexting) to do so. Order ¶¶ 38–39 (A17–18).

     IMC nonetheless asserts (without proof) that the rule is

overinclusive because “many calls affected” by the rule “are in fact

wanted by the consumer that authorizes them.” IMC Br. 36. But

consumers can still consent to robocalls from sellers they wish to hear

from, either individually from a list, or after a “match” is made with a

prospective seller. Indeed, a declaration that IMC furnished in support

of its stay motion confirms that lead generation websites can be updated

to pair a consumer and buyer before consent is given (instead of

harvesting consent for a long list of “partners”), albeit with a modest

delay that IMC’s members would prefer to avoid. Dobak Decl. ¶ 12 (Doc.

20-3) (acknowledging that the “delay may seem inconsequential”); see

Order ¶ 33 (A15) (describing pre-consent match possibility). The

preference of IMC’s members to retain their business models entirely

unchanged is not evidence that the Commission’s rule is impermissibly

overinclusive. See FF Cosmetics, 866 F.3d at 1300 (commercial speech

regulation is invalidated not where it goes “only marginally beyond what

would adequately have served the governmental interest,” but rather


                                 - 35 -
USCA11 Case: 24-10277      Document: 38   Date Filed: 07/15/2024   Page: 45 of 90



where it is “substantially excessive, disregarding far less restrictive and

more precise means” (quoting Fox, 492 U.S. at 479)).

       IMC also characterizes the rule as “underinclusive” because the

rule mandates one-to-one consent and a logical or topical relationship

only for telemarketing robocalls, and not informational robocalls. IMC

Br.    37.   But   “the   First   Amendment      imposes     no    freestanding

‘underinclusiveness limitation.’” Williams-Yulee v. Fla. Bar, 575 U.S.

433, 449 (2015) (citation omitted). Instead, underinclusiveness is

relevant only if it is so irrational as to “raise doubts about whether the

government is in fact pursuing the interest it invokes.” Id. at 448 (cleaned

up).

       That is not the case here. As we have observed, the record showed

a problem with telemarketing robocalls, but no such problem with non-

telemarketing calls. See above p. 25. And Congress contemplated, in

enacting the TCPA, that telemarketing and non-telemarketing robocalls

might require different types of rules; it provided that the FCC “should

have the flexibility” to implement the statute accordingly. TCPA § 2(13),

105 Stat 2394, 2395. In these circumstances, requiring one-to-one consent

and a logical-and-topical relation only for telemarketing robocalls does

not suggest that the FCC’s purpose was pretextual.


                                    - 36 -
USCA11 Case: 24-10277   Document: 38   Date Filed: 07/15/2024   Page: 46 of 90



     IMC’s contention that the FCC failed to address less restrictive

proposals in the record—such as IMC’s proposal that lead generator

websites more explicitly disclose (but not substantively change) their

practices—is likewise incorrect. IMC Br. 39. As we elsewhere explain, see

above p. 13; below Part III.B, the agency cited these proposals, including

IMC’s, and explained why, in the agency’s judgment, they “would not

close the lead generator loophole.” Order ¶ 34 (A16); see id. n.85 (A15–

A16). Among other things, the Commission concluded that the proposed

approaches would still require consumers to consent to a long list of

entities and would not “provide consumers with sufficient control” or

“prevent the daisy-chaining of consents.” Id. ¶ 34 (A16).

     B.    The rule is not subject to strict scrutiny.

     Perhaps    because    the   Commission’s      rule    easily    survives

intermediate scrutiny, IMC mainly argues that the rule is instead subject

to strict scrutiny. See IMC Br. 31–40. Because the requirements of the

rule are mandatory only for telemarketing calls, IMC argues, the rule is

necessarily “content-based.” IMC Br. 31–32 (citing Reed v. Town of

Gilbert, Az., 576 U.S. 155, 165 (2015), and Barr, 140 S. Ct. at 2343).

     To accept IMC’s argument would require an impermissible

departure from established commercial speech doctrine. See, e.g., Recht


                                  - 37 -
USCA11 Case: 24-10277    Document: 38   Date Filed: 07/15/2024   Page: 47 of 90



v. Morrisey, 32 F.4th 398, 409 (4th Cir. 2022) (“Reed simply concerned a

totally different context; it cannot be distorted to so unsettle the Central

Hudson regime.”); FF Cosmetics, 866 F.3d at 1298 (“The law is clear that

commercial speech is afforded lesser protections than those traditionally

given to noncommercial speech.”); Dana’s R.R. Supply, 807 F.3d at 1246.

     The Supreme Court itself disclaimed IMC’s suggestion in City of

Austin, Texas v. Reagan National Advertising of Austin, LLC, 596 U.S.

61, 72 (2022), issued after Reed and Barr. As the Court explained,

although one must “read or hear” a message to know if it entails a

commercial solicitation, “restrictions on solicitation are not content based

and do not inherently present ‘the potential for becoming a means of

suppressing a particular point of view,’ so long as they do not

discriminate based on topic, subject matter, or viewpoint.” Id.

     The scope of Reed and Barr are far narrower than IMC contends.

Reed involved a law that regulated and distinguished among ideological,

political, and nonprofit signs—speech at the heart of the First

Amendment and subject to the highest scrutiny—and the Court had no

reason to discuss commercial speech. 576 U.S. at 159–61. As for Barr,

IMC gets the case backwards: the Court there invalidated a statutory

provision that preferred one subset of commercial speech—messages


                                   - 38 -
USCA11 Case: 24-10277    Document: 38   Date Filed: 07/15/2024   Page: 48 of 90



concerning collection of government debts—above all other forms of

commercial and noncommercial speech, including political speech. See

140 S. Ct. at 2346. The regulation at issue here, by contrast, regulates all

commercial speech, and only commercial speech, without regard to the

content of that speech. The Barr majority nowhere suggested that it was

overruling Central Hudson; indeed, it disavowed any intention “to

expand existing First Amendment doctrine or to otherwise affect

traditional or ordinary economic regulation of commercial activity.” Id.

at 2347. Accordingly, IMC’s First Amendment challenge fails. 8

III. THE CONSENT RULE IS REASONABLE AND SUPPORTED BY THE
     RECORD.

     IMC argues that the Order is arbitrary and capricious. IMC Br. 44–

54. In reality, IMC simply disagrees with the agency’s considered

judgments. That falls well short of meeting a petitioner’s burden under

the Administrative Procedure Act’s “exceedingly deferential” standard.

State of Fla., 19 F.4th at 1290.




8 Even if heightened scrutiny applied (and it does not), the consent rule

would be constitutional because it furthers a compelling interest and is
narrowly tailored, as we have explained. See above pp. 31–33.


                                   - 39 -
USCA11 Case: 24-10277    Document: 38   Date Filed: 07/15/2024   Page: 49 of 90



     A.    The FCC reasonably found lead generation websites
           are a problem, and the new rule is a solution.

     Contrary to IMC’s arguments (IMC Br. 44), the record in this

proceeding amply supports the Commission’s finding that “[l]ead-

generated communications are a large percentage of unwanted calls and

texts.” Order ¶ 30 (A12). For example, Attorneys General from 28 states

(including Alabama) filed comments in support of the one-to-one-consent

rule, based on their “offices’ efforts in combatting illegal robocalls and

text messages.” AG Reply Comments at 1 (SA122). They stated that an

“unwitting consumer” could “open[] the floodgates” to “thousands upon

thousands” of unwanted robocalls by “simply requesting an insurance

quote” from one website. Id. at 4 (SA125). These practices were the source

of many unwanted calls because telemarketers “typically rely on the

purported consent provided through data brokers, bots, or weblinks on

websites.” Id. at 5 (SA126).

     Other comments likewise supported this conclusion. A group of 11

consumer advocate organizations, for example, advised the Commission

that “resale of consumer data by lead generators and lead aggregators

significantly contributes to the problem of illegal calls.” Order ¶ 31 (A13)

(quoting Joint Consumer Comments (SA175)); see also Joint Consumer



                                   - 40 -
USCA11 Case: 24-10277    Document: 38     Date Filed: 07/15/2024    Page: 50 of 90



Reply (SA163). A group of 11 senators similarly asserted that the “sale

and trading” of consents has “led to the proliferation of unwanted

telemarketing robocalls,” Aug. 7 Congressional at 1 (SA180) (describing

1.25    billion   unwanted   calls    every    month).     In      addition,   the

telecommunications trade group USTelecom—leader of the Industry

Traceback Group for illegal robocalls—stated that lead generation

robocalls are now a bigger problem for consumers than fraud robocalls.

USTelecom Comments at 2 (SA92).

       Even a lead generation trade group unaffiliated with IMC, known

as “REACH,” conceded that “the robocall epidemic has been fueled to

some degree by unscrupulous conduct in the lead generation industry.”

REACH Comments at 1 (SA98). REACH acknowledged that, before the

Order, its industry “lack[ed] any meaningful standards in terms of the

content or layout of disclosures, the number of times consent information

[could] be transferred, [or] the duration of time for which consent remains

valid.” Id. REACH further stated that, although some “scam” calls are

made with no consent at all, other unwanted robocalls result from

“legitimate companies who operate in the gray area of the law, protected

by ambiguities in the TCPA” regarding consent. Id. at 3 (SA100). REACH

warned that, once a consumer has filled out a webform (which may itself


                                     - 41 -
USCA11 Case: 24-10277    Document: 38   Date Filed: 07/15/2024    Page: 51 of 90



be deceptive), lead generators “seek[] to profit by reselling the

‘lead’…perhaps hundreds…of times over a limitless period,” and take the

position that, because “express written consent does not expire,” a

“website is free to sell the [consumer’s] consent forever.” Id.

     The Order cited all of this evidence to support its conclusion that

the lead generation industry contributes significantly to unwanted

robocalls. See Order n.70 (A13) (citing USTelecom Comments, Joint

Consumers Comments & Reply, AG Reply Comments); id. n.72 (A13)

(same, and Aug. 7 Congressional); id. n.73 (A13) (citing Joint Consumers

Comments, USTelecom Comments, and individual consumer comments);

id. n.86 (A16) (citing REACH Comments). Thus, contrary to IMC’s

contention (IMC Br. 44), the FCC based its conclusion that the lead

generation loophole was a problem in need of a regulatory solution not on

any single commenter’s input, but on a wide variety of comments from

law enforcement, consumer advocates, individual commenters, Congress,

the Industry Traceback Group, and even a lead generation trade group.

This record more than satisfies substantial evidence review under the

APA. See Georgia Dep’t of Educ. v. U.S. Dep’t of Educ., 883 F.3d 1311,

1314 (11th Cir. 2018) (substantial evidence review is “limited,” requiring




                                   - 42 -
USCA11 Case: 24-10277   Document: 38    Date Filed: 07/15/2024   Page: 52 of 90



only “such relevant evidence as a reasonable person would accept as

adequate to support a conclusion”). 9

     The agency likewise acted rationally in concluding that the one-to-

one-consent and logical-and-topical-relation requirements would “stop

large numbers of robocalls and robotexts from many different entities

based on a single grant of consumer consent.” Order ¶ 32 (A14). As the

agency explained, these requirements are calculated to stop the practice

of “buried, barely visible” disclosures that “burden[] the consumer with

yet another step to be fully informed,” and will prevent the “daisy-

chaining” of consent through repeated resale that leads to robocalls from

telemarketers that consumers do not wish to hear from. Id.

     IMC argues the rule will be ineffective because, it alleges, robocalls

“originate from overseas bad actors” who will not comply with the TCPA.

IMC Br. 46. But, as we have noted, see above p. 41, the lead generation




9 IMC also asserts (IMC Br. 44) that the Order did not identify “a single

instance” in which a comparison shopping website abused consumers’
consent. In fact the FCC cited its experience in the Urth Access
enforcement action, Order ¶ 32 (A14), in which a student loan
telemarketer made millions of unwanted robocalls and claimed it had
obtained consent through websites related to health insurance products
and services, see Urth Access Order, 37 FCC Rcd at 14136, 14139 ¶¶ 8 &
15 (SA202, SA205).


                                  - 43 -
USCA11 Case: 24-10277   Document: 38   Date Filed: 07/15/2024   Page: 53 of 90



trade group REACH disagreed, advising the Commission that some

unwanted calls result from “legitimate companies who operate in the

gray area of the law,” REACH Comments at 3 (SA100). Similarly,

USTelecom, which has extensive experience tracing unwanted robocalls,

commented that “the robocalls consumers are most likely to receive are

lead generation robocalls they do not want, rather than fraud robocalls.”

USTelecom Comments at 2 (SA92).

      In any case, a rule, or portion of a rule, is not arbitrary simply

because it ameliorates only one aspect of a problem. See Mobil Oil Expl.

& Producing Se. Inc. v. United Distrib. Cos., 498 U.S. 211, 231 (1991) (an

“agency need not solve every problem before it in the same proceeding”).

That is especially so here because the rest of the Order and other FCC

actions are aimed at reducing illegal robocalls made without even

putative consent. See Order ¶ 12 (A6) (previous rule regarding blocking);

id. ¶¶ 16–29 (A7–A11) (further rules regarding blocking and the Do Not

Call List). The consent requirement at issue in this case is more narrowly

aimed to close the lead generator loophole, and the record supports that

it will do so.




                                  - 44 -
USCA11 Case: 24-10277   Document: 38   Date Filed: 07/15/2024   Page: 54 of 90



     B.    The FCC considered and reasonably rejected IMC’s
           comments and alternative proposal.

      “Under the ‘arbitrary and capricious’ standard of review, an agency

is...required to respond to significant comments that cast doubt on the

reasonableness of the rule the agency adopts.” Hussion v. Madigan, 950

F.2d 1546, 1554 (11th Cir. 1992) (quoting Baltimore Gas and Elec. Co. v.

United States, 817 F.2d 108, 116 (D.C. Cir.1987)).

     IMC argues that the FCC “failed to adequately consider” less

restrictive measures. IMC Br. 49. Not so. IMC had proposed that the

Commission require websites to disclose more explicitly—but not

change—practices, such as the categories of goods and services about

which customers can expect robocalls, the total number of callers, and

the time period in which these would occur. Order n.85 (A16) (citing and

explicitly rejecting IMC’s proposals); IMC ex parte at n.4 (A178). Other

industry commenters had proposed a rule that would limit the total

number of calls, but not otherwise change lead generation practices.

Order n.85 (A15) (describing proposals). The FCC cited these proposals

and rejected them explicitly. Id. ¶ 34 (A15). The agency explained that

the proposals would not “provide consumers with sufficient control over

which parties they consent to receive robocalls or robotexts from, and



                                 - 45 -
USCA11 Case: 24-10277    Document: 38   Date Filed: 07/15/2024   Page: 55 of 90



would still deprive consumers of the ability to grant consent only to those

sellers from which they wish to receive robocalls or robotexts.” Id.

Instead, under these industry proposals, consumers would “be forced to

consent to all callers on [a] list without the ability to limit that list for

purposes of their comparison shopping.” Id. Moreover, these industry

proposals “would not prevent the daisy-chaining of consents whereby a

seller on the initial list would then resell or otherwise share their consent

to another lead buyer and so on potentially hundreds of times.” Id.

     IMC argues that the FCC’s explanation applied only to other

commenters, who favored limiting the number of calls, and not to IMC’s

proposal for further disclosures. IMC Br. 50. Because the Order cites and

rejects IMC’s proposal in the same footnote as the other proposals, Order

n.85 (A15), the agency’s explanations are more naturally read as applying

to all of the cited proposals. Moreover, the Commission’s logic—that

merely limiting the total number of calls does not provide consumers with

sufficient control over who calls—applies with even more force to IMC’s

proposal to change nothing but disclosure requirements. Because IMC’s

objections are “accounted for in the Agency’s action and furthermore fall

far short of indicating any clear error of judgment by the Agency, the




                                   - 46 -
USCA11 Case: 24-10277    Document: 38   Date Filed: 07/15/2024   Page: 56 of 90



arbitrary and capricious standard provides no basis to set aside” the rule.

Hussion, 950 F.2d at 1554.

     The FCC also did not act unreasonably in rejecting IMC’s

suggestion that a car loan shopping website should be allowed to solicit

consent about loan consolidation. See IMC Br. 49. The agency agreed

instead with commenters who argued that consumers deserve protection

against calls that go beyond the scope of consent, “a scope that can be

reasonably inferred from the purpose of the website at which they gave

that consent.” Order ¶ 36 & n.93 (A17). This reasonable conclusion, too,

easily satisfies the agency’s duty to respond to significant comments.

     C.    The FCC adequately considered the impact of the rule
           on small businesses.

     Finally, IMC argues (IMC Br. 50–54) that the Order inadequately

accounts for the impact of the Commission’s revised rule on small

businesses. Here again, IMC simply disagrees with the FCC’s considered

policy judgment. In the TCPA, Congress found that “[i]individuals’

privacy rights” and “commercial freedoms of speech and trade” “must be

balanced in a way that protects the privacy of individuals and permits

legitimate telemarketing practices.” TCPA § 2(9), 105 stat. 2394. In the

Order, the FCC acknowledged that lead generators and comparison



                                  - 47 -
USCA11 Case: 24-10277   Document: 38   Date Filed: 07/15/2024   Page: 57 of 90



shopping websites offer value to some consumers and businesses, but it

recognized a need to “balance[]” that benefit against the public interest

in protecting “consumers, including small businesses, from a deluge of

unwanted robocalls and robotexts.” Id. ¶ 37 (A17). The agency explained

carefully how and why it struck that balance, emphasizing the

importance of protecting consumers and explaining the many avenues

still open to businesses, including lead generators. Id. ¶¶ 37–45 (A17–

20). The Commission “enjoys broad discretion” when balancing

competing policy objectives like these, and the agency reached a

reasonable balance here. Rural Cellular Ass’n v. FCC, 588 F.3d 1095,

1103 (D.C. Cir. 2009) (discussing balancing under another section of the

Communications Act); see generally City of N. Miami v. Fed. Aviation

Admin., 47 F.4th 1257, 1267–68 (11th Cir. 2022) (“it is within the sound

discretion of the agency to determine which of Congress’s goals this

particular project should accomplish”).

     IMC specifically takes issue with the FCC’s response to comments

from the Small Business Association regarding alleged increased costs

for “small businesses that both buy and sell sales leads.” IMC Br. 51–53;

SBA Comments at 2 (A176). But the FCC made clear it “underst[ood] the

concerns” of those commenters, Order ¶ 38 (A17), and it responded fully,


                                  - 48 -
USCA11 Case: 24-10277    Document: 38    Date Filed: 07/15/2024   Page: 58 of 90



pointing out the myriad avenues that remain open to telemarketers and

lead generators, see above p. 14.

     Among these options, websites can offer a list of partners and allow

consumers to choose each seller they wish to hear from. Order ¶ 41 (A18).

IMC argues that this option is inadequate because buyers will

“inevitably” choose large companies over small ones. IMC Br. 52. But the

FCC found “no basis in the record ‘on which to assume that consumers

will never consent [to receive] telemarketing calls from small businesses,

if they are pitched at the same time as large businesses.’” Order ¶ 45

(A20) (quoting Joint Consumer Comments); see id. (crediting argument

that some consumers will prefer large businesses, some will prefer small

businesses, and some may want to compare offers from both). Even if

consumers were to favor large businesses, moreover, the FCC explained

that customers have the “right to make that determination.” Id. While

the FCC has a duty to consider the impact on small businesses, it is not

required to favor small businesses without regard to customer

preferences.

     IMC also disparages the Order for not “marshal[ling] evidence” to

show that small businesses can adapt to the new rule, for example by

using manually dialed calls rather than robocalls. IMC Br. 53. But “[t]he


                                    - 49 -
USCA11 Case: 24-10277    Document: 38   Date Filed: 07/15/2024   Page: 59 of 90



APA imposes no general obligation on agencies to conduct or commission

their own empirical or statistical studies.” FCC v. Prometheus Radio

Project, 592 U.S. 414, 427 (2021). Rather, an agency may make “a

reasonable predictive judgment based on the evidence” before it. Id.

     Here the FCC found that although commenters alleged, as IMC

does now, that the rule would harm small businesses, no commenter had

“provided specific evidence to demonstrate that such a rule would harm

their businesses in a way that would outweigh the need to protect

consumers.” Order ¶ 42 (A19). Specifically, no commenter provided

evidence of “what fraction of their business involves robocalls and

robotexts and thus how much of their total business would be affected by

the new rule”; nor did commenters offer evidence of “how much it would

cost to modify their websites and processes” to get one-to-one consent, or

evidence of “the cost to small businesses of disclosing their names before

consumers consent.” Id. 10 Finally, commenters alleging harm ignored




10 While IMC sought to support its stay request in this Court through

declarations quantifying alleged costs and harms, it presented no similar
evidence to the agency during the rulemaking. On APA review of agency
action, “the court may not go outside the administrative record.” Nat’l
Min. Ass’n v. Sec’y, U.S. Dep’t of Lab., 812 F.3d 843, 875 (11th Cir. 2016)
(citation omitted).


                                  - 50 -
USCA11 Case: 24-10277   Document: 38   Date Filed: 07/15/2024   Page: 60 of 90



offsetting benefits to small businesses, including reducing unwanted

robocalls to them. The Commission deemed that a potentially significant

benefit, given that small business owners may be “unable to ignore calls

from strange numbers” because “each call may be from a potential

customer.” Id. ¶ 44 (A20).

     To be sure, “some businesses,” including IMC’s members, “may

have to alter their business practices to provide more transparency

upfront to consumers” under the Commission’s revised rule. Id. ¶ 42

(A19). But that is the inevitable result of requirements that protect

consumers from the unwanted effects of these business practices. On this

record, the agency struck a reasonable balance between the commercial

interests of lead-generating telemarketers against the public interest in

protecting consumer privacy.




                                 - 51 -
USCA11 Case: 24-10277   Document: 38     Date Filed: 07/15/2024   Page: 61 of 90



                             CONCLUSION

     The petition for review should be denied.


Dated: July 15, 2024                   Respectfully submitted,

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                                 - 52 -
USCA11 Case: 24-10277   Document: 38   Date Filed: 07/15/2024   Page: 62 of 90




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USCA11 Case: 24-10277   Document: 38   Date Filed: 07/15/2024   Page: 63 of 90




                 Statutory Addendum
USCA11 Case: 24-10277          Document: 38       Date Filed: 07/15/2024      Page: 64 of 90




                                  Table of Contents

TCPA, 105 Stat. 2394 .................................................................. 1
47 U.S.C. § 227 ............................................................................. 3
47 C.F.R. § 64.1200 .................................................................... 11
  USCA11 Case: 24-10277   Document: 38   Date Filed: 07/15/2024   Page: 65 of 90



                                PL 102–243

                              105 Stat. 2394
                     December 20, 1991
        TELEPHONE CONSUMER PROTECTION ACT OF 1991

 An Act to amend the Communications Act of 1934 to prohibit certain
 practices involving the use of telephone equipment.
 Be it enacted by the Senate and House of Representatives of the United
                 States of America in Congress assembled,

SECTION 1. SHORT TITLE.
  This Act may be cited as the “Telephone Consumer Protection Act of
 1991”.

SEC. 2. FINDINGS.
  The Congress finds that:
  (1) The use of the telephone to market goods and services to the home
 and other businesses is now pervasive due to the increased use of cost-
 effective telemarketing techniques.
  (2) Over 30,000 businesses actively telemarket goods and services to
 business and residential customers.
  (3) More than 300,000 solicitors call more than 18,000,000 Americans
 every day.
  (4) Total United States sales generated through telemarketing
 amounted to $435,000,000,000 in 1990, a more than four-fold increase
 since 1984.
  (5) Unrestricted telemarketing, however, can be an intrusive invasion
 of privacy and, when an emergency or medical assistance telephone line
 is seized, a risk to public safety.
  (6) Many consumers are outraged over the proliferation of intrusive,
 nuisance calls to their homes from telemarketers.
  (7) Over half the States now have statutes restricting various uses of
 the telephone for marketing, but telemarketers can evade their
 prohibitions through interstate operations; therefore, Federal law is
 needed to control residential telemarketing practices.
  (8) The Constitution does not prohibit restrictions on commercial
 telemarketing solicitations.
                                     1
USCA11 Case: 24-10277   Document: 38       Date Filed: 07/15/2024   Page: 66 of 90



 (9) Individuals' privacy rights, public safety interests, and commercial
freedoms of speech and trade must be balanced in a way that protects
the privacy of individuals and permits legitimate telemarketing
practices.
 (10) Evidence compiled by the Congress indicates that residential
telephone subscribers consider automated or prerecorded telephone
calls, regardless of the content or the initiator of the message, to be a
nuisance and an invasion of privacy.
 (11) Technologies that might allow consumers to avoid receiving such
calls are not universally available, are costly, are unlikely to be
enforced, or place an inordinate burden on the consumer.
 (12) Banning such automated or prerecorded telephone calls to the
home, except when the receiving party consents to receiving the call or
when such calls are necessary in an emergency situation affecting the
health and safety of the consumer, is the only effective means of
protecting telephone consumers from this nuisance and privacy
invasion.
 (13) While the evidence presented to the Congress indicates that
automated or prerecorded calls are a nuisance and an invasion of
privacy, regardless of the type of call, the Federal Communications
Commission should have the flexibility to design different rules for
those types of automated or prerecorded calls that it finds are not
considered a nuisance or invasion of privacy, or for noncommercial calls,
consistent with the free speech protections embodied in the First
Amendment of the Constitution.
 (14) Businesses also have complained to the Congress and the Federal
Communications Commission that automated or prerecorded telephone
calls are a nuisance, are an invasion of privacy, and interfere with
interstate commerce.
 (15) The Federal Communications Commission should consider
adopting reasonable restrictions on automated or prerecorded calls to
businesses as well as to the home, consistent with the constitutional
protections of free speech.

                                *      *     *




                                    2
USCA11 Case: 24-10277   Document: 38   Date Filed: 07/15/2024   Page: 67 of 90



                            47 U.S.C. § 227
        § 227. Restrictions on use of telephone equipment

(a) Definitions
As used in this section—
(1) The term “automatic telephone dialing system” means equipment
which has the capacity--
      (A) to store or produce telephone numbers to be called, using a
      random or sequential number generator; and
      (B) to dial such numbers.
(2) The term “established business relationship”, for purposes only of
subsection (b)(1)(C)(i), shall have the meaning given the term in section
64.1200 of title 47, Code of Federal Regulations, as in effect on January
1, 2003, except that--
      (A) such term shall include a relationship between a person or
      entity and a business subscriber subject to the same terms
      applicable under such section to a relationship between a person
      or entity and a residential subscriber; and
      (B) an established business relationship shall be subject to any
      time limitation established pursuant to paragraph (2)(G)).1
(3) The term “telephone facsimile machine” means equipment which
has the capacity (A) to transcribe text or images, or both, from paper
into an electronic signal and to transmit that signal over a regular
telephone line, or (B) to transcribe text or images (or both) from an
electronic signal received over a regular telephone line onto paper.
(4) The term “telephone solicitation” means the initiation of a telephone
call or message for the purpose of encouraging the purchase or rental of,
or investment in, property, goods, or services, which is transmitted to
any person, but such term does not include a call or message (A) to any
person with that person's prior express invitation or permission, (B) to
any person with whom the caller has an established business
relationship, or (C) by a tax exempt nonprofit organization.
(5) The term “unsolicited advertisement” means any material
advertising the commercial availability or quality of any property,
goods, or services which is transmitted to any person without that
person's prior express invitation or permission, in writing or otherwise.



                                   3
USCA11 Case: 24-10277    Document: 38    Date Filed: 07/15/2024   Page: 68 of 90



(b) Restrictions on use of automated telephone equipment

(1) Prohibitions
It shall be unlawful for any person within the United States, or any
person outside the United States if the recipient is within the United
States—
      (A) to make any call (other than a call made for emergency
      purposes or made with the prior express consent of the called
      party) using any automatic telephone dialing system or an
      artificial or prerecorded voice--
             (i) to any emergency telephone line (including any “911” line
             and any emergency line of a hospital, medical physician or
             service office, health care facility, poison control center, or
             fire protection or law enforcement agency);
             (ii) to the telephone line of any guest room or patient room
             of a hospital, health care facility, elderly home, or similar
             establishment; or
             (iii) to any telephone number assigned to a paging service,
             cellular telephone service, specialized mobile radio service,
             or other radio common carrier service, or any service for
             which the called party is charged for the call, unless such
             call is made solely to collect a debt owed to or guaranteed by
             the United States;
      (B) to initiate any telephone call to any residential telephone line
      using an artificial or prerecorded voice to deliver a message
      without the prior express consent of the called party, unless the
      call is initiated for emergency purposes, is made solely pursuant
      to the collection of a debt owed to or guaranteed by the United
      States, or is exempted by rule or order by the Commission under
      paragraph (2)(B);
      (C) to use any telephone facsimile machine, computer, or other
      device to send, to a telephone facsimile machine, an unsolicited
      advertisement, unless--
             (i) the unsolicited advertisement is from a sender with an
             established business relationship with the recipient;
             (ii) the sender obtained the number of the telephone
             facsimile machine through--


                                     4
USCA11 Case: 24-10277   Document: 38    Date Filed: 07/15/2024   Page: 69 of 90



                 (I) the voluntary communication of such number,
                 within the context of such established business
                 relationship, from the recipient of the unsolicited
                 advertisement, or
                 (II) a directory, advertisement, or site on the Internet
                 to which the recipient voluntarily agreed to make
                 available its facsimile number for public distribution,

           except that this clause shall not apply in the case of an
           unsolicited advertisement that is sent based on an
           established business relationship with the recipient that was
           in existence before July 9, 2005, if the sender possessed the
           facsimile machine number of the recipient before July 9,
           2005; and

           (iii) the unsolicited advertisement contains a notice meeting
           the requirements under paragraph (2)(D),

                 except that the exception under clauses (i) and (ii) shall
                 not apply with respect to an unsolicited advertisement
                 sent to a telephone facsimile machine by a sender to
                 whom a request has been made not to send future
                 unsolicited advertisements to such telephone facsimile
                 machine that complies with the requirements under
                 paragraph (2)(E); or

      (D) to use an automatic telephone dialing system in such a way
      that two or more telephone lines of a multi-line business are
      engaged simultaneously.
(2) Regulations; exemptions and other provisions
The Commission shall prescribe regulations to implement the
requirements of this subsection. In implementing the requirements of
this subsection, the Commission--
      (A) shall consider prescribing regulations to allow businesses to
      avoid receiving calls made using an artificial or prerecorded voice
      to which they have not given their prior express consent;



                                    5
USCA11 Case: 24-10277   Document: 38    Date Filed: 07/15/2024   Page: 70 of 90



    (B) may, by rule or order, exempt from the requirements of
    paragraph (1)(B) of this subsection, subject to such conditions as
    the Commission may prescribe--
          (i) calls that are not made for a commercial purpose; and
          (ii) such classes or categories of calls made for commercial
          purposes as the Commission determines--
                 (I) will not adversely affect the privacy rights that this
                 section is intended to protect; and
                 (II) do not include the transmission of any unsolicited
                 advertisement;
    (C) may, by rule or order, exempt from the requirements of
    paragraph (1)(A)(iii) of this subsection calls to a telephone number
    assigned to a cellular telephone service that are not charged to the
    called party, subject to such conditions as the Commission may
    prescribe as necessary in the interest of the privacy rights this
    section is intended to protect;
    (D) shall provide that a notice contained in an unsolicited
    advertisement complies with the requirements under this
    subparagraph only if--
          (i) the notice is clear and conspicuous and on the first page
          of the unsolicited advertisement;
          (ii) the notice states that the recipient may make a request
          to the sender of the unsolicited advertisement not to send
          any future unsolicited advertisements to a telephone
          facsimile machine or machines and that failure to comply,
          within the shortest reasonable time, as determined by the
          Commission, with such a request meeting the requirements
          under subparagraph (E) is unlawful;
          (iii) the notice sets forth the requirements for a request
          under subparagraph (E);
          (iv) the notice includes--
                 (I) a domestic contact telephone and facsimile machine
                 number for the recipient to transmit such a request to
                 the sender; and
                 (II) a cost-free mechanism for a recipient to transmit a
                 request pursuant to such notice to the sender of the
                 unsolicited advertisement; the Commission shall by
                 rule require the sender to provide such a mechanism

                                    6
USCA11 Case: 24-10277   Document: 38   Date Filed: 07/15/2024   Page: 71 of 90



                 and may, in the discretion of the Commission and
                 subject to such conditions as the Commission may
                 prescribe, exempt certain classes of small business
                 senders, but only if the Commission determines that
                 the costs to such class are unduly burdensome given
                 the revenues generated by such small businesses;
          (v) the telephone and facsimile machine numbers and the
          cost-free mechanism set forth pursuant to clause (iv) permit
          an individual or business to make such a request at any time
          on any day of the week; and
          (vi) the notice complies with the requirements of subsection
          (d);
    (E) shall provide, by rule, that a request not to send future
    unsolicited advertisements to a telephone facsimile machine
    complies with the requirements under this subparagraph only if--
          (i) the request identifies the telephone number or numbers
          of the telephone facsimile machine or machines to which the
          request relates;
          (ii) the request is made to the telephone or facsimile number
          of the sender of such an unsolicited advertisement provided
          pursuant to subparagraph (D)(iv) or by any other method of
          communication as determined by the Commission; and
          (iii) the person making the request has not, subsequent to
          such request, provided express invitation or permission to
          the sender, in writing or otherwise, to send such
          advertisements to such person at such telephone facsimile
          machine;
    (F) may, in the discretion of the Commission and subject to such
    conditions as the Commission may prescribe, allow professional or
    trade associations that are tax-exempt nonprofit organizations to
    send unsolicited advertisements to their members in furtherance
    of the association's tax-exempt purpose that do not contain the
    notice required by paragraph (1)(C)(iii), except that the
    Commission may take action under this subparagraph only--
          (i) by regulation issued after public notice and opportunity
          for public comment; and
          (ii) if the Commission determines that such notice required
          by paragraph (1)(C)(iii) is not necessary to protect the ability

                                   7
USCA11 Case: 24-10277   Document: 38   Date Filed: 07/15/2024   Page: 72 of 90



          of the members of such associations to stop such associations
          from sending any future unsolicited advertisements;
    (G)
          (i) may, consistent with clause (ii), limit the duration of the
          existence of an established business relationship, however,
          before establishing any such limits, the Commission shall--
                (I) determine whether the existence of the exception
                under paragraph (1)(C) relating to an established
                business relationship has resulted in a significant
                number of complaints to the Commission regarding the
                sending of unsolicited advertisements to telephone
                facsimile machines;
                (II) determine whether a significant number of any
                such complaints involve unsolicited advertisements
                that were sent on the basis of an established business
                relationship that was longer in duration than the
                Commission believes is consistent with the reasonable
                expectations of consumers;
                (III) evaluate the costs to senders of demonstrating the
                existence of an established business relationship
                within a specified period of time and the benefits to
                recipients of establishing a limitation on such
                established business relationship; and
                (IV) determine whether with respect to small
                businesses, the costs would not be unduly burdensome;
                and
          (ii) may not commence a proceeding to determine whether to
          limit the duration of the existence of an established business
          relationship before the expiration of the 3-month period that
          begins on July 9, 2005;
    (H) may restrict or limit the number and duration of calls made to
    a telephone number assigned to a cellular telephone service to
    collect a debt owed to or guaranteed by the United States; and
          (I) shall ensure that any exemption under subparagraph (B)
          or (C) contains requirements for calls made in reliance on
          the exemption with respect to--
                (i) the classes of parties that may make such calls;
                (ii) the classes of parties that may be called; and

                                   8
USCA11 Case: 24-10277    Document: 38    Date Filed: 07/15/2024   Page: 73 of 90



                 (iii) the number of such calls that a calling party may
                 make to a particular called party.

(3) Private right of action
A person or entity may, if otherwise permitted by the laws or rules of
court of a State, bring in an appropriate court of that State--
      (A) an action based on a violation of this subsection or the
      regulations prescribed under this subsection to enjoin such
      violation,
      (B) an action to recover for actual monetary loss from such a
      violation, or to receive $500 in damages for each such violation,
      whichever is greater, or
      (C) both such actions.

     If the court finds that the defendant willfully or knowingly
     violated this subsection or the regulations prescribed under this
     subsection, the court may, in its discretion, increase the amount of
     the award to an amount equal to not more than 3 times the
     amount available under subparagraph (B) of this paragraph.

(4) Civil forfeiture
     (A) In general
     Any person that is determined by the Commission, in accordance
     with paragraph (3) or (4) of section 503(b) of this title, to have
     violated this subsection shall be liable to the United States for a
     forfeiture penalty pursuant to section 503(b)(1) of this
     title. Paragraph (5) of section 503(b) of this title shall not apply in
     the case of a violation of this subsection. A forfeiture penalty
     under this subparagraph shall be in addition to any other penalty
     provided for by this chapter. The amount of the forfeiture penalty
     determined under this subparagraph shall be determined in
     accordance with subparagraphs (A) through (F) of section
     503(b)(2) of this title.
     (B) Violation with intent
     Any person that is determined by the Commission, in accordance
     with paragraph (3) or (4) of section 503(b) of this title, to have
     violated this subsection with the intent to cause such violation
     shall be liable to the United States for a forfeiture penalty

                                     9
USCA11 Case: 24-10277   Document: 38     Date Filed: 07/15/2024   Page: 74 of 90



    pursuant to section 503(b)(1) of this title. Paragraph (5) of section
    503(b) of this title shall not apply in the case of a violation of this
    subsection. A forfeiture penalty under this subparagraph shall be
    in addition to any other penalty provided for by this chapter. The
    amount of the forfeiture penalty determined under this
    subparagraph shall be equal to an amount determined in
    accordance with subparagraphs (A) through (F) of section
    503(b)(2) of this title plus an additional penalty not to exceed
    $10,000.
    (C) Recovery
    Any forfeiture penalty determined under subparagraph (A) or (B)
    shall be recoverable under section 504(a) of this title.
    (D) Procedure
    No forfeiture liability shall be determined under subparagraph (A)
    or (B) against any person unless such person receives the notice
    required by section 503(b)(3) of this title or section 503(b)(4) of this
    title.
    (E) Statute of limitations
    Notwithstanding paragraph (6) of section 503(b) of this title, no
    forfeiture penalty shall be determined or imposed against any
    person--
           (i) under subparagraph (A) if the violation charged occurred
           more than 1 year prior to the date of issuance of the required
           notice or notice of apparent liability; or
           (ii) under subparagraph (B) if the violation charged occurred
           more than 4 years prior to the date of issuance of the
           required notice or notice of apparent liability.
           (F) Rule of construction
           Notwithstanding any law to the contrary, the Commission
           may not determine or impose a forfeiture penalty on a
           person under both subparagraphs (A) and (B) based on the
           same conduct.

                                *   *     *




                                    10
USCA11 Case: 24-10277    Document: 38     Date Filed: 07/15/2024   Page: 75 of 90



                            47 C.F.R. § 64.1200
                    § 64.1200 Delivery restrictions.

(a) No person or entity may:

(1) Except as provided in paragraph (a)(2) of this section, initiate any
telephone call (other than a call made for emergency purposes or is
made with the prior express consent of the called party) using an
automatic telephone dialing system or an artificial or prerecorded voice;
      (i) To any emergency telephone line, including any 911 line and
      any emergency line of a hospital, medical physician or service
      office, health care facility, poison control center, or fire protection
      or law enforcement agency;
      (ii) To the telephone line of any guest room or patient room of a
      hospital, health care facility, elderly home, or similar
      establishment; or
      (iii) To any telephone number assigned to a paging service,
      cellular telephone service, specialized mobile radio service, or
      other radio common carrier service, or any service for which the
      called party is charged for the call.
      (iv) A person will not be liable for violating the prohibition in
      paragraph (a)(1)(iii) of this section when the call is placed to a
      wireless number that has been ported from wireline service and
      such call is a voice call; not knowingly made to a wireless number;
      and made within 15 days of the porting of the number from
      wireline to wireless service, provided the number is not already on
      the national do-not-call registry or caller's company-specific do-
      not-call list. A person will not be liable for violating the
      prohibition in paragraph (a)(1)(iii) of this section when making
      calls exempted by paragraph (a)(9) of this section.

(2) Initiate, or cause to be initiated, any telephone call that includes or
introduces an advertisement or constitutes telemarketing, using an
automatic telephone dialing system or an artificial or prerecorded voice,
to any of the lines or telephone numbers described in paragraphs
(a)(1)(i) through (iii) of this section, other than a call made with the
prior express written consent of the called party or the prior express
consent of the called party when the call is made by or on behalf of a
                                     11
USCA11 Case: 24-10277    Document: 38    Date Filed: 07/15/2024   Page: 76 of 90



tax-exempt nonprofit organization, or a call that delivers a “health care”
message made by, or on behalf of, a “covered entity” or its “business
associate,” as those terms are defined in the HIPAA Privacy Rule, 45
CFR 160.103.

(3) Initiate any telephone call to any residential line using an artificial
or prerecorded voice to deliver a message that includes or introduces an
advertisement or constitutes telemarketing without the prior express
written consent of the called party, or that exceeds the applicable
numerical limitation on calls identified in paragraphs (a)(3)(ii) through
(v) of this section without the prior express consent of the called party.

A telephone call to any residential line using an artificial or prerecorded
voice to deliver a message requires no consent if the call:
      (i) Is made for emergency purposes;
      (ii) Is not made for a commercial purpose and the caller makes no
      more than three calls within any consecutive 30–day period to the
      residential line and honors the called party's request to opt out of
      future calls as required in paragraphs (b) and (d) of this section;
      (iii) Is made for a commercial purpose but does not include or
      introduce an advertisement or constitute telemarketing and the
      caller makes no more than three calls within any consecutive 30–
      day period to the residential line and honors the called party's
      request to opt out of future calls as required in paragraphs (b) and
      (d) of this section;
      (iv) Is made by or on behalf of a tax-exempt nonprofit organization
      and the caller makes no more than three calls within any
      consecutive 30–day period to the residential line and honors the
      called party's request to opt out of future calls as required in
      paragraphs (b) and (d) of this section; or
      (v) Delivers a “health care” message made by, or on behalf of, a
      “covered entity” or its “business associate,” as those terms are
      defined in the HIPAA Privacy Rule, 45 CFR 160.103, and the
      caller makes no more than one call per day to each patient's
      residential line, up to a maximum of three calls combined per
      week to each patient's residential line and honors the called
      party's request to opt out of future calls as required in paragraphs
      (b) and (d) of this section.

                                    12
USCA11 Case: 24-10277   Document: 38    Date Filed: 07/15/2024   Page: 77 of 90



(4) Use a telephone facsimile machine, computer, or other device to send
an unsolicited advertisement to a telephone facsimile machine, unless—
      (i) The unsolicited advertisement is from a sender with an
      established business relationship, as defined in paragraph (f)(6) of
      this section, with the recipient; and
      (ii) The sender obtained the number of the telephone facsimile
      machine through—
             (A) The voluntary communication of such number by the
             recipient directly to the sender, within the context of such
             established business relationship; or
             (B) A directory, advertisement, or site on the Internet to
             which the recipient voluntarily agreed to make available its
             facsimile number for public distribution. If a sender obtains
             the facsimile number from the recipient's own directory,
             advertisement, or Internet site, it will be presumed that the
             number was voluntarily made available for public
             distribution, unless such materials explicitly note that
             unsolicited advertisements are not accepted at the specified
             facsimile number. If a sender obtains the facsimile number
             from other sources, the sender must take reasonable steps to
             verify that the recipient agreed to make the number
             available for public distribution.
             (C) This clause shall not apply in the case of an unsolicited
             advertisement that is sent based on an established business
             relationship with the recipient that was in existence before
             July 9, 2005 if the sender also possessed the facsimile
             machine number of the recipient before July 9, 2005. There
             shall be a rebuttable presumption that if a valid established
             business relationship was formed prior to July 9, 2005, the
             sender possessed the facsimile number prior to such date as
             well; and
      (iii) The advertisement contains a notice that informs the recipient
      of the ability and means to avoid future unsolicited
      advertisements. A notice contained in an advertisement complies
      with the requirements under this paragraph only if—
             (A) The notice is clear and conspicuous and on the first page
             of the advertisement;


                                   13
USCA11 Case: 24-10277   Document: 38    Date Filed: 07/15/2024   Page: 78 of 90



          (B) The notice states that the recipient may make a request
          to the sender of the advertisement not to send any future
          advertisements to a telephone facsimile machine or
          machines and that failure to comply, within 30 days, with
          such a request meeting the requirements under paragraph
          (a)(4)(v) of this section is unlawful;
          (C) The notice sets forth the requirements for an opt-out
          request under paragraph (a)(4)(v) of this section;
          (D) The notice includes—
                (1) A domestic contact telephone number and facsimile
                machine number for the recipient to transmit such a
                request to the sender; and
                (2) If neither the required telephone number nor
                facsimile machine number is a toll-free number, a
                separate cost-free mechanism including a Web site
                address or email address, for a recipient to transmit a
                request pursuant to such notice to the sender of the
                advertisement. A local telephone number also shall
                constitute a cost-free mechanism so long as recipients
                are local and will not incur any long distance or other
                separate charges for calls made to such number; and
          (E) The telephone and facsimile numbers and cost-free
          mechanism identified in the notice must permit an
          individual or business to make an opt-out request 24 hours a
          day, 7 days a week.
    (iv) A request not to send future unsolicited advertisements to a
    telephone facsimile machine complies with the requirements
    under this subparagraph only if—
          (A) The request identifies the telephone number or numbers
          of the telephone facsimile machine or machines to which the
          request relates;
          (B) The request is made to the telephone number, facsimile
          number, Web site address or email address identified in the
          sender's facsimile advertisement; and
          (C) The person making the request has not, subsequent to
          such request, provided express invitation or permission to
          the sender, in writing or otherwise, to send such


                                   14
USCA11 Case: 24-10277   Document: 38    Date Filed: 07/15/2024   Page: 79 of 90



           advertisements to such person at such telephone facsimile
           machine.
     (v) A sender that receives a request not to send future unsolicited
     advertisements that complies with paragraph (a)(4)(v) of this
     section must honor that request within the shortest reasonable
     time from the date of such request, not to exceed 30 days, and is
     prohibited from sending unsolicited advertisements to the
     recipient unless the recipient subsequently provides prior express
     invitation or permission to the sender. The recipient's opt-out
     request terminates the established business relationship
     exemption for purposes of sending future unsolicited
     advertisements. If such requests are recorded or maintained by a
     party other than the sender on whose behalf the unsolicited
     advertisement is sent, the sender will be liable for any failures to
     honor the opt-out request.
     (vi) A facsimile broadcaster will be liable for violations of
     paragraph (a)(4) of this section, including the inclusion of opt-out
     notices on unsolicited advertisements, if it demonstrates a high
     degree of involvement in, or actual notice of, the unlawful activity
     and fails to take steps to prevent such facsimile transmissions.

(5) Use an automatic telephone dialing system in such a way that two
or more telephone lines of a multi-line business are engaged
simultaneously.

(6) Disconnect an unanswered telemarketing call prior to at least 15
seconds or four (4) rings.

(7) Abandon more than three percent of all telemarketing calls that are
answered live by a person, as measured over a 30–day period for a
single calling campaign. If a single calling campaign exceeds a 30–day
period, the abandonment rate shall be calculated separately for each
successive 30–day period or portion thereof that such calling campaign
continues. A call is “abandoned” if it is not connected to a live sales
representative within two (2) seconds of the called person's completed
greeting.
      (i) Whenever a live sales representative is not available to speak
      with the person answering the call, within two (2) seconds after

                                   15
USCA11 Case: 24-10277   Document: 38     Date Filed: 07/15/2024   Page: 80 of 90



     the called person's completed greeting, the telemarketer or the
     seller must provide:
            (A) A prerecorded identification and opt-out message that is
            limited to disclosing that the call was for “telemarketing
            purposes” and states the name of the business, entity, or
            individual on whose behalf the call was placed, and a
            telephone number for such business, entity, or individual
            that permits the called person to make a do-not-call request
            during regular business hours for the duration of the
            telemarketing campaign; provided, that, such telephone
            number may not be a 900 number or any other number for
            which charges exceed local or long distance transmission
            charges, and
            (B) An automated, interactive voice- and/or key press-
            activated opt-out mechanism that enables the called person
            to make a do-not-call request prior to terminating the call,
            including brief explanatory instructions on how to use such
            mechanism. When the called person elects to opt-out using
            such mechanism, the mechanism must automatically record
            the called person's number to the seller's do-not-call list and
            immediately terminate the call.
     (ii) A call for telemarketing purposes that delivers an artificial or
     prerecorded voice message to a residential telephone line or to any
     of the lines or telephone numbers described in paragraphs (a)(1)(i)
     through (iii) of this section after the subscriber to such line has
     granted prior express written consent for the call to be made shall
     not be considered an abandoned call if the message begins within
     two (2) seconds of the called person's completed greeting.
     (iii) The seller or telemarketer must maintain records establishing
     compliance with paragraph (a)(7) of this section.
     (iv) Calls made by or on behalf of tax-exempt nonprofit
     organizations are not covered by this paragraph (a)(7).

(8) Use any technology to dial any telephone number for the purpose of
determining whether the line is a facsimile or voice line.

(9) A person will not be liable for violating the prohibition in paragraph
(a)(1)(iii) of this section for making any call exempted in this paragraph

                                    16
USCA11 Case: 24-10277    Document: 38    Date Filed: 07/15/2024   Page: 81 of 90



(a)(9), provided that the call is not charged to the called person or
counted against the called person's plan limits on minutes or texts. As
used in this paragraph (a)(9), the term “call” includes a text message,
including a short message service (SMS) call.
      (i) Calls made by a package delivery company to notify a consumer
      about a package delivery, provided that all of the following
      conditions are met:
            (A) The notification must be sent only to the telephone
            number for the package recipient;
            (B) The notification must identify the name of the package
            delivery company and include contact information for the
            package delivery company;
            (C) The notification must not include any telemarketing,
            solicitation, or advertising content;
            (D) The voice call or text message notification must be
            concise, generally one minute or less in length for voice calls
            or 160 characters or less in length for text messages;
            (E) The package delivery company shall send only one
            notification (whether by voice call or text message) per
            package, except that one additional notification may be sent
            for each attempt to deliver the package, up to two attempts,
            if the recipient's signature is required for the package and
            the recipient was not available to sign for the package on the
            previous delivery attempt;
                   <Text of subsection (a)(9)(i)(F) effective until (date
                                        pending).>
            (F) The package delivery company must offer package
            recipients the ability to opt out of receiving future delivery
            notification calls and messages and must honor an opt-out
            request within a reasonable time from the date such request
            is made, not to exceed 30 days; and,
             <Text of subsection (a)(9)(i)(F) delayed until announcement
              of effective date in the Federal Register. See 89 FR 15757.>
            (F) The package delivery company must offer package
            recipients the ability to opt out of receiving future delivery
            notification calls and messages and must honor an opt-out
            request within a reasonable time from the date such request
            is made, not to exceed six business days; and,

                                    17
USCA11 Case: 24-10277   Document: 38    Date Filed: 07/15/2024   Page: 82 of 90



           (G) Each notification must include information on how to opt
           out of future delivery notifications; voice call notifications
           that could be answered by a live person must include an
           automated, interactive voice- and/or key press-activated opt-
           out mechanism that enables the called person to make an
           opt-out request prior to terminating the call; voice call
           notifications that could be answered by an answering
           machine or voice mail service must include a toll-free
           number that the consumer can call to opt out of future
           package delivery notifications; text notifications must
           include the ability for the recipient to opt out by replying
           “STOP.”
    (ii) Calls made by an inmate collect call service provider following
    an unsuccessful collect call to establish a billing arrangement with
    the called party to enable future collect calls, provided that all of
    the following conditions are met:
           (A) Notifications must identify the name of the inmate
           collect call service provider and include contact information;
           (B) Notifications must not include any telemarketing,
           solicitation, debt collection, or advertising content;
           (C) Notifications must be clear and concise, generally one
           minute or less;
           (D) Inmate collect call service providers shall send no more
           than three notifications following each inmate collect call
           that is unsuccessful due to the lack of an established billing
           arrangement, and shall not retain the called party's number
           after call completion or, in the alternative, after the third
           notification attempt; and
           (E) Each notification call must include information on how to
           opt out of future calls; voice calls that could be answered by
           a live person must include an automated, interactive voice-
           and/or key press-activated opt-out mechanism that enables
           the called person to make an opt-out request prior to
           terminating the call; voice calls that could be answered by an
           answering machine or voice mail service must include a toll-
           free number that the consumer can call to opt out of future
           notification calls; and,


                                   18
USCA11 Case: 24-10277   Document: 38    Date Filed: 07/15/2024   Page: 83 of 90



           (F) The inmate collect call service provider must honor opt-
           out requests immediately.
    (iii) Calls made by any financial institution as defined in section
    4(k) of the Bank Holding Company Act of 1956, 15 U.S.C.
    6809(3)(A), provided that all of the following conditions are met:
           (A) Voice calls and text messages must be sent only to the
           wireless telephone number provided by the customer of the
           financial institution;
           (B) Voice calls and text messages must state the name and
           contact information of the financial institution (for voice
           calls, these disclosures must be made at the beginning of the
           call);
           (C) Voice calls and text messages are strictly limited to those
           for the following purposes: transactions and events that
           suggest a risk of fraud or identity theft; possible breaches of
           the security of customers' personal information; steps
           consumers can take to prevent or remedy harm caused by
           data security breaches; and actions needed to arrange for
           receipt of pending money transfers;
           (D) Voice calls and text messages must not include any
           telemarketing, cross-marketing, solicitation, debt collection,
           or advertising content;
           (E) Voice calls and text messages must be concise, generally
           one minute or less in length for voice calls (unless more time
           is needed to obtain customer responses or answer customer
           questions) or 160 characters or less in length for text
           messages;
           (F) A financial institution may initiate no more than three
           messages (whether by voice call or text message) per event
           over a three-day period for an affected account;
           (G) A financial institution must offer recipients within each
           message an easy means to opt out of future such messages;
           voice calls that could be answered by a live person must
           include an automated, interactive voice- and/or key press-
           activated opt-out mechanism that enables the call recipient
           to make an opt-out request prior to terminating the call;
           voice calls that could be answered by an answering machine
           or voice mail service must include a toll-free number that the

                                   19
USCA11 Case: 24-10277   Document: 38    Date Filed: 07/15/2024   Page: 84 of 90



          consumer can call to opt out of future calls; text messages
          must inform recipients of the ability to opt out by replying
          “STOP,” which will be the exclusive means by which
          consumers may opt out of such messages; and,
          (H) A financial institution must honor opt-out requests
          immediately.
    (iv) Calls made by, or on behalf of, healthcare providers, which
    include hospitals, emergency care centers, medical physician or
    service offices, poison control centers, and other healthcare
    professionals, provided that all of the following conditions are met:
          (A) Voice calls and text messages must be sent only to the
          wireless telephone number provided by the patient;
          (B) Voice calls and text messages must state the name and
          contact information of the healthcare provider (for voice
          calls, these disclosures would need to be made at the
          beginning of the call);
          (C) Voice calls and text messages are strictly limited to those
          for the following purposes: appointment and exam
          confirmations and reminders, wellness checkups, hospital
          pre-registration instructions, pre-operative instructions, lab
          results, post-discharge follow-up intended to prevent
          readmission, prescription notifications, and home healthcare
          instructions;
          (D) Voice calls and text messages must not include any
          telemarketing, solicitation, or advertising; may not include
          accounting, billing, debt-collection, or other financial
          content; and must comply with HIPAA privacy rules, 45 CFR
          160.103;
          (E) Voice calls and text messages must be concise, generally
          one minute or less in length for voice calls or 160 characters
          or less in length for text messages;
          (F) A healthcare provider may initiate only one message
          (whether by voice call or text message) per day to each
          patient, up to a maximum of three voice calls or text
          messages combined per week to each patient;
          (G) A healthcare provider must offer recipients within each
          message an easy means to opt out of future such messages;
          voice calls that could be answered by a live person must

                                   20
USCA11 Case: 24-10277    Document: 38    Date Filed: 07/15/2024   Page: 85 of 90



           include an automated, interactive voice- and/or key press-
           activated opt-out mechanism that enables the call recipient
           to make an opt-out request prior to terminating the call;
           voice calls that could be answered by an answering machine
           or voice mail service must include a toll-free number that the
           consumer can call to opt out of future healthcare calls; text
           messages must inform recipients of the ability to opt out by
           replying “STOP,” which will be the exclusive means by which
           consumers may opt out of such messages; and,
           (H) A healthcare provider must honor opt-out requests
           immediately.

(10) A called party may revoke prior express consent, including prior
express written consent, to receive calls or text messages made
pursuant to paragraphs (a)(1) through (3) and (c)(2) of this section by
using any reasonable method to clearly express a desire not to receive
further calls or text messages from the caller or sender. Any revocation
request made using an automated, interactive voice or key press-
activated opt-out mechanism on a call; using the words “stop,” “quit,”
“end,” “revoke,” “opt out,” “cancel,” or “unsubscribe” sent in reply to an
incoming text message; or pursuant to a website or telephone number
designated by the caller to process opt-out requests constitutes a
reasonable means per se to revoke consent. If a called party uses any
such method to revoke consent, that consent is considered definitively
revoked and the caller may not send additional robocalls and robotexts.
If a reply to an incoming text message uses words other than “stop,”
“quit,” “end,” “revoke,” “opt out,” “cancel,” or “unsubscribe,” the caller
must treat that reply text as a valid revocation request if a reasonable
person would understand those words to have conveyed a request to
revoke consent. Should the text initiator choose to use a texting protocol
that does not allow reply texts, it must provide a clear and conspicuous
disclosure on each text to the consumer that two-way texting is not
available due to technical limitations of the texting protocol, and clearly
and conspicuously provide on each text reasonable alternative ways to
revoke consent. All requests to revoke prior express consent or prior
express written consent made in any reasonable manner must be
honored within a reasonable time not to exceed ten business days from
receipt of such request. Callers or senders of text messages covered by

                                    21
USCA11 Case: 24-10277     Document: 38     Date Filed: 07/15/2024   Page: 86 of 90



paragraphs (a)(1) through (3) and (c)(2) of this section may not
designate an exclusive means to request revocation of consent.

(11) The use of any other means to revoke consent not listed in
paragraph (a)(10) of this section, such as a voicemail or email to any
telephone number or email address intended to reach the caller, creates
a rebuttable presumption that the consumer has revoked consent when
the called party satisfies their obligation to produce evidence that such
a request has been made, absent evidence to the contrary. In those
circumstances, a totality of circumstances analysis will determine
whether the caller can demonstrate that a request to revoke consent
has not been conveyed in a reasonable manner.

(12) A one-time text message confirming a request to revoke consent
from receiving any further calls or text messages does not violate
paragraphs (a)(1) and (2) of this section as long as the confirmation text
merely confirms the text recipient's revocation request and does not
include any marketing or promotional information, and is the only
additional message sent to the called party after receipt of the
revocation request. If the confirmation text is sent within five minutes
of receipt, it will be presumed to fall within the consumer's prior
express consent. If it takes longer, however, the sender will have to
make a showing that such delay was reasonable. To the extent that the
text recipient has consented to several categories of text messages from
the text sender, the confirmation message may request clarification as
to whether the revocation request was meant to encompass all such
messages; the sender must cease all further texts for which consent is
required absent further clarification that the recipient wishes to
continue to receive certain text messages.


                                  *   *    *
(f) As used in this section:

(1) The term advertisement means any material advertising the
commercial availability or quality of any property, goods, or services.



                                      22
USCA11 Case: 24-10277    Document: 38     Date Filed: 07/15/2024   Page: 87 of 90



(2) The terms automatic telephone dialing system and autodialer mean
equipment which has the capacity to store or produce telephone
numbers to be called using a random or sequential number generator
and to dial such numbers.

(3) The term clear and conspicuous means a notice that would be
apparent to the reasonable consumer, separate and distinguishable
from the advertising copy or other disclosures. With respect to
facsimiles and for purposes of paragraph (a)(4)(iii)(A) of this section, the
notice must be placed at either the top or bottom of the facsimile.

(4) The term emergency purposes means calls made necessary in any
situation affecting the health and safety of consumers.

(5) The term established business relationship for purposes of telephone
solicitations means a prior or existing relationship formed by a
voluntary two-way communication between a person or entity and a
residential subscriber with or without an exchange of consideration, on
the basis of the subscriber's purchase or transaction with the entity
within the eighteen (18) months immediately preceding the date of the
telephone call or on the basis of the subscriber's inquiry or application
regarding products or services offered by the entity within the three
months immediately preceding the date of the call, which relationship
has not been previously terminated by either party.
       (i) The subscriber's seller-specific do-not-call request, as set forth
       in paragraph (d)(3) of this section, terminates an established
       business relationship for purposes of telemarketing and telephone
       solicitation even if the subscriber continues to do business with
       the seller.
       (ii) The subscriber's established business relationship with a
       particular business entity does not extend to affiliated entities
       unless the subscriber would reasonably expect them to be included
       given the nature and type of goods or services offered by the
       affiliate and the identity of the affiliate.

(6) The term established business relationship for purposes of
paragraph (a)(4) of this section on the sending of facsimile
advertisements means a prior or existing relationship formed by a

                                     23
USCA11 Case: 24-10277    Document: 38    Date Filed: 07/15/2024   Page: 88 of 90



voluntary two-way communication between a person or entity and a
business or residential subscriber with or without an exchange of
consideration, on the basis of an inquiry, application, purchase or
transaction by the business or residential subscriber regarding products
or services offered by such person or entity, which relationship has not
been previously terminated by either party.

(7) The term facsimile broadcaster means a person or entity that
transmits messages to telephone facsimile machines on behalf of
another person or entity for a fee.

(8) The term one-ring scam means a scam in which a caller makes a call
and allows the call to ring the called party for a short duration, in order
to prompt the called party to return the call, thereby subjecting the
called party to charges.

(9) The term prior express written consent means an agreement, in
writing, that bears the signature of the person called or texted that
clearly and conspicuously authorizes no more than one identified seller
to deliver or cause to be delivered to the person called or texted
advertisements or telemarketing messages using an automatic
telephone dialing system or an artificial or prerecorded voice. Calls and
texts must be logically and topically associated with the interaction that
prompted the consent and the agreement must identify the telephone
number to which the signatory authorizes such advertisements or
telemarketing messages to be delivered.
      (i) The written agreement shall include a clear and conspicuous
      disclosure informing the person signing
      that:
            (A) By executing the agreement, such person authorizes the
            seller to deliver or cause to be delivered to the signatory
            telemarketing calls or texts using an automatic telephone
            dialing system or an artificial or
            prerecorded voice; and
            (B) The person is not required to sign the agreement
            (directly or indirectly), or agree to enter into such an
            agreement as a condition of purchasing any property, goods,
            or services. The term “signature” shall

                                    24
USCA11 Case: 24-10277   Document: 38     Date Filed: 07/15/2024   Page: 89 of 90



           include an electronic or digital form of signature, to the
           extent that such form of signature is recognized as
           a valid signature under applicable federal law or state
           contract law.

(10) The term seller means the person or entity on whose behalf a
telephone call or message is initiated for the purpose of encouraging the
purchase or rental of, or investment in, property, goods, or services,
which is transmitted to any person.

(11) The term sender for purposes of paragraph (a)(4) of this section
means the person or entity on whose behalf a facsimile unsolicited
advertisement is sent or whose goods or services are advertised or
promoted in the unsolicited advertisement.

(12) The term telemarketer means the person or entity that initiates a
telephone call or message for the purpose of encouraging the purchase
or rental of, or investment in, property, goods, or services, which is
transmitted to any person.

(13) The term telemarketing means the initiation of a telephone call or
message for the purpose of encouraging the purchase or rental of, or
investment in, property, goods, or services, which is transmitted to any
person.

(14) The term telephone facsimile machine means equipment which has
the capacity to transcribe text or images, or both, from paper into an
electronic signal and to transmit that signal over a regular telephone
line, or to transcribe text or images (or both) from an electronic signal
received over a regular telephone line onto paper.

(15) The term telephone solicitation means the initiation of a telephone
call or message for the purpose of encouraging the purchase or rental of,
or investment in, property, goods, or services, which is transmitted to
any person, but such term does not include a call or message:
      (i) To any person with that person's prior express invitation or
      permission;


                                    25
USCA11 Case: 24-10277    Document: 38    Date Filed: 07/15/2024   Page: 90 of 90



     (ii) To any person with whom the caller has an established
     business relationship; or
     (iii) By or on behalf of a tax-exempt nonprofit organization.

(16) The term unsolicited advertisement means any material
advertising the commercial availability or quality of any property,
goods, or services which is transmitted to any person without that
person's prior express invitation or permission, in writing or otherwise.

(17) The term personal relationship means any family member, friend,
or acquaintance of the telemarketer making the call.

(18) The term effectively mitigate means identifying the source of the
traffic and preventing that source from continuing to originate traffic of
the same or similar nature.

(19) The term gateway provider means a U.S.-based intermediate
provider that receives a call directly from a foreign originating provider
or foreign intermediate provider at its U.S.-based facilities before
transmitting the call downstream to another U.S.-based provider. For
purposes of this paragraph (f)(19):
      (i) U.S.-based means that the provider has facilities located in the
      United States, including a point of presence capable of processing
      the call; and
      (ii) Receives a call directly from a provider means the foreign
      provider directly upstream of the gateway provider in the call
      path sent the call to the gateway provider, with no providers in-
      between.
                                    * * *




                                    26
